       Case 2:22-cv-00192-TOR            ECF No. 1      filed 08/25/22    PageID.1 Page 1 of 69




     THE HARBOR LAW GROUP
 1
     Kira M. Rubel (WSBA No. 51691)
 2   kira@theharborlawgroup.com
     3615 Harborview Dr., Suite C
 3   Gig Harbor, WA 98332
     (253) 358-2215
 4

 5   SHAMIS & GENTILE, P.A.
     Andrew J. Shamis (FL Bar No. 101754)*
 6   ashamis@shamisgentile.com
     14 NE 1st Ave, Suite 705
 7   Miami, FL 33132
     Tel: (305) 479-2299
 8

 9   EDELSBERG LAW, PA
     Scott Edelsberg (FL Bar No. 100537)*
10   scott@edelsberglaw.com
     20900 NE 30th Ave Ste 417
11   Aventura, FL 33180
     Tel: 305-975-3320
12

13   *Pro Hac Vice forthcoming
     Attorneys for Plaintiff and the Putative Class
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE EASTERN DISTRICT OF WASHINGTON
16   LISA EVANS, individually and on behalf of all         Case No.:
     others similarly situated,
17                                                         CLASS ACTION COMPLAINT
18         Plaintiff,
19                                                         JURY TRIAL DEMANDED
     vs.
20
     PROGRESSIVE CASUALTY INSURANCE
21
     COMPANY, an Ohio corporation,
22
       Defendant.
23

24
               Plaintiff Lisa Evans (“Plaintiff”), by and through undersigned counsel, brings this class
25
     action, individually and on behalf of all others similarly situated, against Progressive Casualty
26
     Insurance Company (“Progressive” or “Defendant”) and alleges as follows:
27

28

     CLASS ACTION COMPLAINT -1-
       Case 2:22-cv-00192-TOR           ECF No. 1     filed 08/25/22     PageID.2 Page 2 of 69




                                            INTRODUCTION
 1

 2          1.      This is a class action on behalf of Plaintiff and all other similarly situated

 3   claimants in Washington who received a payment for the loss of a totaled vehicle from

 4   Defendant, where Defendant used valuation reports prepared by Mitchell International, Inc.
 5
     (“Mitchell”) to determine the actual cash value (“ACV”) of the loss vehicles.             Through
 6
     Mitchell’s valuation, Defendant systemically thumbs the scale when calculating the ACV of
 7
     claimants’ loss vehicles by applying so-called “Projected Sold Adjustments” that are: (a)
 8
     arbitrary; (b) contrary to appraisal standards and methodologies; (c) not based in fact, as they
 9

10   are contrary to the used car industry’s market pricing and inventory management practices; (d)

11   not applied by the major competitor of Defendant’s vendor Mitchell; and (e) on information and
12   belief, not applied by Defendant and Mitchell to insureds in other states like California.
13
            2.      In the event of a “total loss” to an insured vehicle—i.e., where repair of the
14
     vehicle is impossible or uneconomical—Defendant’s uniform insurance policies with Plaintiff
15

16   and all putative Class members (defined below) promises to pay for the loss, limited to the ACV

17   of the vehicle. Attached as Exhibit A is a copy of Plaintiff’s Policy (“Policy”), which is

18   materially identical to the policy for all members of the putative Class.
19          3.      When valuing total loss claims for vehicles, it is improper for an automobile
20
     insurance company, such as Progressive, to undervalue and underpay the claims by
21
     manipulating the data used to determine the ACV of the vehicles. Specifically, under their
22
     insurance policy terms and applicable Washington law, Defendant has a duty to pay, and
23

24   represent that it will pay, the ACV of a loss vehicle when adjusting total loss claims.

25          4.      Notwithstanding these obligations and representations, Defendant fails to fulfill

26   this obligation by taking advantage of a valuation process that employs improper and
27

28

     CLASS ACTION COMPLAINT -2-
       Case 2:22-cv-00192-TOR           ECF No. 1       filed 08/25/22    PageID.3 Page 3 of 69




     unreasonable adjustments to reduce the value of comparable vehicles specified in the valuation
 1

 2   reports, which in turn reduces the valuation of the total loss vehicles and the corresponding claim

 3   payment
 4          5.      Specifically, Defendant, through Mitchell, systemically applies a so-called
 5
     “Projected Sold Adjustment” that results in a significant downward adjustment to the base
 6
     values of the comparable vehicles used to calculate the ACV of Plaintiff’s and Class members’
 7
     total loss vehicles. This reduction is contrary to appraisal standards and methodologies and is
 8

 9   not based in fact, as it is contrary to the used car industry’s market pricing and inventory

10   management practices. The adjustment is applied to each of the comparable vehicles on top of

11   adjustments for differences such as mileage, options, and equipment. The only purported
12   explanation for the downward adjustment appears on the last page of the valuation reports and
13
     is a general, nondescript statement claiming that the reduction is to “reflect consumer purchasing
14
     behavior (negotiating a different price than the listed price).” Exhibit B at p. 8.
15
            6.      Neither Progressive nor Mitchell has ever conducted any study or research to
16

17   determine whether such “consumer purchasing behavior” exists and impacts ACV in the modern

18   used-car market. Worse than this complete lack of curiosity is that Defendant thumbs the scale

19   by discarding vast amounts of relevant data that contradict applying a Projected Sold Adjustment.
20
     For example, until July 2021, Defendant, through its vendors, simply threw out all data where
21
     the list price equaled or exceeded the sold price. And to this day, it persists in excluding from
22
     Projected Sold calculations some data where the list price equaled sold price and all data where
23
     the sold price exceeds the list price, even though examples abound of dealerships that charge
24

25   more than advertised price to customers purchasing a vehicle with cash—i.e. not providing the

26   dealer the opportunity to profit through financing the sale or acquiring a trade-in—which is
27

28

     CLASS ACTION COMPLAINT -3-
       Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22    PageID.4 Page 4 of 69




     particularly relevant to the inquiry of determining a vehicle’s ACV. Defendant fails to control
 1

 2   for whether the vehicle was purchased with cash, or whether there were ancillary purchases or

 3   transactions that may influence the “sales price” but not the ACV (e.g., whether the customer
 4   traded in a vehicle at time of purchase, bought an extended warranty or service plan, or financed
 5
     the purchase).
 6
            7.        Nevertheless, Progressive applies a Projected Sold Adjustment to the advertised
 7
     (or listed) price of comparable vehicles when calculating the ACV of total-loss vehicles. For
 8

 9   Plaintiff, the Projected Sold Adjustment was approximately 7.9% of each of the three comparable

10   vehicle’s value prior to adjustments. To arrive at the Projected Sold Adjustment amount,

11   however, Progressive, through third-party vendors, and as set forth above, categorically excludes
12   transactions that undermine its flawed thesis: for example, transactions where the sold price
13
     exceeds list price, transactions from dealerships who market themselves as “no-haggle”
14
     dealerships, and every transaction where the sold price equaled the advertised price.
15
            8.        As explained herein, the used auto market is such that, given the ubiquity of
16

17   Internet advertising and shopping and developments in sophisticated pricing software, car

18   dealerships simply do not negotiate off of Internet-advertised prices. Any difference between a

19   list and sales price does not reflect a negotiation of the vehicle’s cash value, but rather that a
20
     dealer shifted its profits to other components of the transaction: for example, profits made through
21
     financing or trade-in or ancillary products described above, or that the dealer applied a generally
22
     unavailable discount to the cash value of the vehicle (such as employee discount, loyalty
23
     discount, military discount, or friends/family discount). But Progressive ignores these market
24

25   realities and is content with paying insureds and claimants below-market prices for their totaled

26   vehicles.
27

28

     CLASS ACTION COMPLAINT -4-
       Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22    PageID.5 Page 5 of 69




            9.      To arrive at its conclusion that consumers negotiate down the advertised price,
 1

 2   Progressive, through its vendors, intentionally distorts the data, excludes transactions that

 3   undercut its false hypothesis, and ignores market realities, all for the purpose of applying a
 4   capricious and unjustified Projected Sold Adjustment to artificially deflate the value of total loss
 5
     vehicles.
 6
            10.     This pattern and practice of undervaluing comparable and total loss vehicles when
 7
     paying automobile total loss claims through arbitrary, unsupported, and unjustified adjustments,
 8

 9   which benefits the insurer at the expense of the insured, violates Defendant’s policies with its

10   insureds.

11
                                                  PARTIES
12
            11.     Plaintiff Lisa Evans, at all relevant times, was a citized of Washington State
13
     residing in Spokane County. At all relevant times, Plaintiff was contracted with Progressive for
14
     automobile insurance. On or about July 31, 2019, Plaintiff was in a car wreck and Defendant
15

16   deemed her vehicle to be a total loss.

17          12.     Defendant Progressive Casualty Insurance Company is an Ohio company with

18   its principal place of business in Ohio. Defendant is a subsidiary of Progressive Group entities.
19   Defendant provides insurance coverage throughout the United States for first-party property
20
     damage under collision and/or comprehensive coverage. At all relevant times, Defendant
21
     conducted business in Washington through insurance agents and other company personnel.
22
                                     JURISDICTION AND VENUE
23

24          13.     Minimal diversity exists under the Class Action Fairness Act (“CAFA”), 28

25   U.S.C. §§ 1332(d), 1441(a)-(b), and 1453. Plaintiff and the proposed class members are citizens

26   of the State of Washington. Defendant is an Ohio Corporation that has its corporate headquarters
27

28

     CLASS ACTION COMPLAINT -5-
       Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22    PageID.6 Page 6 of 69




     in Ohio, and, at all relevant times hereto, Defendant was engaged in the business of marketing
 1

 2   and selling insurance policies and adjusting insurance claims in the State of Washington.

 3           14.      Plaintiff estimates that there are more than 100 putative class members, and the
 4   aggregate compensatory damages (in the amount of the Projected Sold Adjustment that were
 5
     deceptively deducted), claimed by Plaintiff and the Class are estimated in good faith to exceed
 6
     $5,000,000.00.
 7
             15.      Venue is proper in this District under 28 U.S.C. § 1391, as a substantial portion
 8

 9   of the conduct giving rise to Plaintiff’s claims occurred in this District, and Defendant transacts

10   business in this District.

11                                     FACTUAL ALLEGATIONS
12
     Defendant’s Systemic Application of Projected Sold Adjustments
13

14
             16.      On July 31, 2019, Plaintiff was involved in a car wreck and sustained physical
15
     damage to her vehicle. At the time of the car wreck, Plaintiff was contracted with Progressive.
16
             17.      Like all members of the putative Class, Plaintiff made a property damage claim
17

18   to Defendant.

19           18.      Pursuant to uniform policies and procedures, Defendant declared Plaintiff’s

20   vehicle to be a total loss and purported to pay her the ACV of her loss vehicle, as Defendant
21
     promised and represented it would under the uniform provisions of its insurance policies and
22
     Washington law.
23
             19.      When calculating its valuations and claims payments, Defendant systemically
24
     employs a routine “total loss settlement process.” This process involves obtaining a “Vehicle
25

26   Valuation Report” from Mitchell and relying upon the valuation provided by Mitchell as the

27   ACV amount owed under the policy. Defendant provided a Mitchell Vehicle Valuation Report
28

     CLASS ACTION COMPLAINT -6-
       Case 2:22-cv-00192-TOR            ECF No. 1       filed 08/25/22   PageID.7 Page 7 of 69




     to Plaintiff on August 1, 2019. See Exhibit B.
 1

 2           20.     The Mitchell Vehicle Valuation Reports used by Defendant during the relevant

 3   period followed the same process, provided and disclosed the same or substantially the same
 4   material information, and presented that material information in the same or substantially the
 5
     same format. These valuation reports purport to contain values for comparable vehicles for sale
 6
     in the claimant’s geographic area. The reports also contain a purported valuation of the loss
 7
     vehicle based upon these prices for comparable vehicles listed in the report. The report then
 8

 9   adjusts the advertised prices of those comparable vehicles to account for differences in

10   equipment, mileage, and vehicle configuration. Exhibit B at p. 8.

11           21.     In addition, however, the valuation reports used by Defendant make a further
12   adjustment to each loss vehicle called a “Projected Sold Adjustment.” For Plaintiff, Projected
13
     Sold Adjustments in the amounts of -$788.00, -$789.00, and - $1,021.00 respectively, were
14
     applied to each of the three comparable vehicles. Exhibit B at pp. 5-6.
15
             22.     Defendant provides no data specific to the comparable vehicles or any
16

17   explanation of industry practices in its valuation reports to support any Projected Sold

18   Adjustment, much less the specific downward adjustments used in Plaintiff’s valuation report.

19   Instead, the only explanation is buried on the last page of each report, stating in full: “Projected
20
     Sold Adjustment – an adjustment to reflect consumer purchasing behavior (negotiating a
21
     different price than the listed price).” Exhibit B at p. 8.
22
             23.   In truth, Defendant’s Projected Sold Adjustments do not reflect market realities
23
     (the context in which “consumer behavior” occurs) and run contrary to customary automobile
24

25   dealer practices and inventory management, where list prices are priced to market to reflect the

26   intense competition in the context of Internet pricing and comparison shopping. Before the
27

28

     CLASS ACTION COMPLAINT -7-
       Case 2:22-cv-00192-TOR          ECF No. 1     filed 08/25/22    PageID.8 Page 8 of 69




     ubiquity of online advertising and shopping, “advertised” prices had very little to do with
 1

 2   eliciting car buyers to particular dealerships—instead, car buyers generally went to their local

 3   used car dealership that had the desired vehicle in stock for sale. The “advertised” price was
 4   simply whatever price was listed on the physical window. And consumers could not, as they can
 5
     now, easily compare that price to Internet advertisements of the same vehicle offered by
 6
     competitors.
 7
            24.     As such, dealerships generally priced vehicles above market knowing that some
 8

 9   consumers might be poor negotiators and they would realize an inflated profit on those sales.

10   This above-market “window” price obviously allowed for negotiation, and a downward

11   negotiation would often occur.
12          25.     But during the Class Period, that is simply no longer how the used car market
13
     operates. Now, given the need for Internet advertising, the prevalence of Internet shopping and
14
     consumer behavior, developments in sophisticated pricing software universally used by car
15
     dealerships, and the ease with which consumers can compare the advertised prices of identical
16

17   vehicles across multiple competing dealerships, used car dealerships no longer price vehicles

18   above market with room for—and the expectation of—negotiation. Instead, car dealerships use

19   sophisticated pricing software—which provides the advertised prices of all competitors; the
20
     average “turn” of a given year, make and model; the amount for which vehicles have sold during
21
     a given time-period; etc.—and now appraise vehicles before acquiring them to price them to
22
     market and do not negotiate from that price.
23
            26.     This makes sense, because if a car dealership priced a vehicle above market with
24

25   room for negotiation, consumers would simply not go to that dealership. This is because

26   consumers can easily compare advertised prices and would seek out the vehicle priced to market,
27

28

     CLASS ACTION COMPLAINT -8-
       Case 2:22-cv-00192-TOR          ECF No. 1     filed 08/25/22    PageID.9 Page 9 of 69




     rather than the same vehicle priced at a higher amount (i.e., above market). Given the choice
 1

 2   between paying less or paying more for an identical vehicle, consumers will choose to pay less.

 3          27.   As such, a negotiated discount off the cash price is highly atypical and is not
 4   proper to include in determining ACV. The inclusion of this significant downward adjustment
 5
     purportedly to “reflect consumer purchasing behavior” is particularly improper in the context of
 6
     this action—insureds who have suffered a total loss of their vehicle and need to procure a
 7
     replacement have limited time to search out the illusory opportunity to obtain the below-market
 8

 9   deal Defendant assumes always exists without any explanation or support.

10          28.   Defendant’s Projected Sold Adjustments are contrary to appraisal standards.

11   There are multiple generally-recognized and acceptable methodologies for determining ACV,
12   including use of comparable vehicles. Defendant begins the process of valuing loss vehicles
13
     using comparative methodology but improperly deviates from that process by thumbing the
14
     scales against the insured. Defendant documents the loss vehicle’s and each comparable
15
     vehicle’s mileage, options, and trim, which are compared in the report, and makes dollar
16

17   adjustments accordingly. Plaintiff does not challenge these documented adjustments. At this

18   stage of the process, however, Defendant abandons the comparative methodology and applies

19   adjustments that are contrary to proper appraisal methodologies for determining ACV.
20
     Appraisers use advertised prices and make adjustments based only on observed and verifiable
21
     data; appraisal standards do not permit arbitrary adjustments from the advertised price based
22
     upon undocumented and unverifiable projections.
23
            29.   Defendant thumbs the scale by discarding vast amounts of relevant data that
24

25   contradict any application of a Projected Sold Adjustment and by failing to control for material

26   variables, including whether there were ancillary purchases or transactions that may influence
27

28

     CLASS ACTION COMPLAINT -9-
      Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22       PageID.10 Page 10 of 69




     what is recorded as the “sales price” but do not influence the ACV (e.g., whether the customer
 1

 2   traded in a vehicle at the time of purchase, bought an extended warranty or service plan, or

 3   financed the purchase).
 4             30.   Until July 2021, Defendant excluded from the calculation of the Projected Sold
 5
     Adjustment all transactions in which the list price of a vehicle equaled the sold price.
 6
               31.    Even after July 2021, Defendant still excludes some transactions in which the list
 7
     price of a vehicle equals the sold price.
 8

 9             32.    Defendant has excluded and continues to exclude from the calculation of the

10   Projected Sold Adjustment all transactions in which the sold price of a vehicle is greater than the

11   list price.
12             33.    Without having performed any investigation or study, Defendant simply assumes
13
     all such transactions are anomalies.
14
               34.    Likewise, Defendant has not exercised even a modicum of curiosity to investigate
15
     whether market realities support the application of a Projected Sold Adjustment. Nor does
16

17   Defendant or its vendors attempt to verify—even a single time—for those transactions where the

18   advertised price exceeded sold price, whether the reason for the reduction was negotiation of the

19   cash price of the vehicle and not some other (far more likely) reason, some of which are discussed
20
     herein.
21
               35.    Neither Progressive’s form Policy nor Washington law permit reducing a
22
     vehicle’s value for invented or arbitrarily assumed justifications.
23
               36.    Moreover, the accuracy of Defendant’s data is, at best, suspect, as it contains a
24

25   significant number of transactions where the advertised date in the database comes after the sold

26   date. As a matter of simply chronology, it makes no sense to advertise a vehicle after it is sold.
27

28

     CLASS ACTION COMPLAINT -10-
      Case 2:22-cv-00192-TOR          ECF No. 1      filed 08/25/22     PageID.11 Page 11 of 69




     But here, too, Defendant makes no effort to control for this obvious flaw in the data.
 1

 2          37.     These irremediable, and unjustifiable, errors, of course, skew the data in favor of

 3   Defendant to the detriment of the insureds.
 4          38.     Moreover, examples abound demonstrating the glaring error of Defendant’s
 5
     cherry-picking practices.
 6
            39.     For example, related to the exclusion of sales prices greater than list prices, all
 7
     advertised prices for comparable vehicles listed in Defendant’s valuation reports are scraped from
 8

 9   Internet sources—specifically Cars.com, Autotrader.com, Vast.com, and TrueCar.com.

10          40.     The advertised prices many dealerships publish on these websites include

11   discounts for consumers who are financing and providing a trade-in. Thus, a consumer who was
12   not financing the vehicle through the dealership or who was not trading in a vehicle—obviously,
13
     insureds who sustained a total loss almost certainly are not trading a vehicle when purchasing a
14
     replacement vehicle—would have to pay in cash more than the price listed on sources where
15
     Mitchell scrapes advertisements for comparable vehicles. In determining the ACV of Plaintiff’s
16

17   and class members’ totaled vehicles, there is no justification for Defendant to have excluded

18   those transactions from calculating the Projected Sold Adjustment, while only including

19   transactions where the sold price was recorded as less than the list price.
20
            41.     Simply put, there is no justification for Progressive to exclude such transactions
21
     as outliers or mistakes when justifying how it calculates the amount of the so-called Projected
22
     Sold Adjustment.
23
            42.     Doing so serves only to skew the data to meet Defendant’s unjustified,
24

25   unsupported, and uninvestigated assumption that the list price of comparable vehicles should

26   always be reduced to pay insureds less.
27

28

     CLASS ACTION COMPLAINT -11-
      Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22     PageID.12 Page 12 of 69




            43.     Defendant further fails to control whether the vehicle was purchased with
 1

 2   discounts unavailable to the public (e.g., employee discounts).

 3          44.     Defendant also fails to control for whether the vehicle was purchased with cash,
 4   or whether there were ancillary purchases or transactions that may influence the recorded “sales
 5
     price” but not the ACV (e.g., whether the customer traded in a vehicle at the time of purchase,
 6
     bought an extended warranty or service plan, or financed the purchase).
 7
            45.     In these instances, the ACV of the vehicle remains its price to market; the
 8

 9   dealership simply transferred the anticipated profit through either the sale of an optional ancillary

10   product or by reducing what it would have offered in trade-in value.

11          46.     The impropriety and arbitrariness of Defendant’s Projected Sold Adjustments are
12   further demonstrated by the fact that Mitchell’s primary competitor in providing valuation reports
13
     to insurance companies—CCC Intelligent Solutions, Inc.—does not apply projected sold
14
     adjustments in this manner. Instead, CCC Intelligent Solutions uses list prices.
15
            47.     On information and belief, the impropriety and arbitrariness of Defendant’s
16

17   Projected Sold Adjustments are further demonstrated by the fact that Progressive does not apply

18   these adjustments when determining the ACV of total losses in California or Washington. There

19   is no justification for applying these adjustments when valuing total losses in Washington while
20
     not subjecting California insureds to the same negative adjustments.
21
            48.     Plaintiff and each member of the proposed Class were damaged by Defendant’s
22
     application of these Projected Sold Adjustments because they were not paid the ACV they would
23
     have received had Defendant applied proper methodologies and appraisal standards.
24

25          49.    Were it not for this deceptive and improper adjustment, the “Base Value” in each

26   valuation report would have been higher, resulting in a higher “settlement value” and in turn a
27

28

     CLASS ACTION COMPLAINT -12-
      Case 2:22-cv-00192-TOR          ECF No. 1      filed 08/25/22       PageID.13 Page 13 of 69




     higher payment by Defendant for ACV. Specifically, for Plaintiff, were it not for this deceptive
 1

 2   and improper adjustment, the payment of ACV by Defendant would have been $866.00 higher,

 3   before adding the related increase in payments for applicable sales taxes.
 4
                                   CLASS ACTION ALLEGATIONS
 5
            50.     Plaintiff brings this action individually and as a class action under Fed. R. Civ.
 6
     P 23(a) and (b), on behalf of the following proposed Class:
 7
                    All Washington citizens insured by Progressive who, from the earliest
 8
                    allowable time through the date an Order granting class certification is
 9                  entered, received compensation for the total loss of a covered vehicle,
                    where that compensation was based on a vehicle valuation report
10
                    prepared by Mitchell and the ACV was decreased based upon Projected
11                  Sold Adjustments to the comparable vehicles used to determine ACV.

12
            51.     Plaintiff is the proposed class representative for the Class. Excluded from the
13

14   Class are Defendant and any of its members, affiliates, parents, subsidiaries, officers, directors,

15   employees, successors, or assigns; governmental entities; and the Judge(s) and Court staff

16   assigned to this case and their immediate family members.
17          52.     Plaintiff reserves her right to amend the Class definition if discovery and further
18
     investigation reveal that any Class should be expanded or narrowed, divided into additional
19
     subclasses, or modified in any other way.
20
            53.     Numerosity. The members of the Class are so numerous that individual joinder
21

22   of all Class members is impracticable. While Plaintiff is informed and believes that there are

23   thousands of Class members, the precise number is unknown to Plaintiff but may be ascertained

24   from Defendant’s books and records. Class members may be notified of the pendency of this
25
     action by recognized Court-approved notice dissemination methods, which may include U.S.
26
     Mail, electronic mail, Internet postings, and/or published notice.
27

28

     CLASS ACTION COMPLAINT -13-
      Case 2:22-cv-00192-TOR           ECF No. 1        filed 08/25/22    PageID.14 Page 14 of 69




            54.       Commonality and Predominance. This action involves common questions of
 1

 2   law and fact, which predominate over any questions affecting individual Class members,

 3   including, without limitation:
 4                 a. Whether Defendant systemically used Mitchell’s Vehicle Valuation Reports in
 5
                      adjusting total loss claims to determine ACV;
 6
                   b. Whether the Mitchell Vehicle Valuation Reports included Projected Sold
 7
                      Adjustments to the value of the comparable vehicles that reduced the base value,
 8

 9                    and thus the claim amount paid by Defendant for the ACV of Plaintiff’s and

10                    Class members’ total loss vehicles;

11                 c. Whether Defendant’s improper practices injured Plaintiff and members of the
12                    Class;
13
                   d. Whether Defendant’s acts violated its obligations under the policy of insurance;
14
                   e. Whether Plaintiff and the Class are entitled to compensatory damages, and if so,
15
                      the calculation of damages; and
16

17                 f. Whether Plaintiff and Class members are entitled to an injunction restraining

18                    Progressive’s future acts and practices.

19           55.      Typicality. The claims of the Plaintiff, who is the representative of the Class
20
     herein, are typical of the claims of the proposed Class, in that the claims of all members of the
21
     proposed Class, including the Plaintiff, depend on a showing of the acts of Progressive giving
22
     rise to the right of Plaintiff to the relief sought herein. There is no conflict between the
23
     individually named Plaintiff and the other members of the proposed Class with respect to this
24

25   action, or with respect to the claims for relief set forth herein.

26           56.      Adequacy of Representation. Plaintiff is an adequate representative of the Class
27

28

     CLASS ACTION COMPLAINT -14-
      Case 2:22-cv-00192-TOR          ECF No. 1      filed 08/25/22    PageID.15 Page 15 of 69




     because Plaintiff’s interests do not conflict with the interests of the other Class members whom
 1

 2   she seeks to represent, Plaintiff has retained counsel competent and experienced in complex

 3   class action litigation, including successfully litigating class action cases similar to this one,
 4   where insurers breached contracts with insureds. The interests of the Class will be fairly and
 5
     adequately protected by Plaintiff and her counsel.
 6
            57.     Superiority. A class action is superior to any other available means for the fair
 7
     and efficient adjudication of this controversy, and no unusual difficulties are likely to be
 8

 9   encountered in the management of this class action. The damages or other financial detriment

10   suffered by Plaintiff and the other Class members are relatively small compared to the burden

11   and expense that would be required to individually litigate their claims against Defendant, such
12   that it would be impracticable for the Class members to individually seek redress for
13
     Defendant’s wrongful conduct. Even if the Class members could afford litigation, the court
14
     system could not. Individualized litigation creates a potential for inconsistent or contradictory
15
     judgments and increases the delay and expense to all parties and the court system. By contrast,
16

17   the class action device presents far fewer management difficulties, and provides the benefits of

18   single adjudication, economy of scale, and comprehensive supervision by a single court.

19                                  COUNT 1
           VIOLATION OF THE WASHINGTON UNFAIR TRADE PRACTICES ACT
20

21                              WASH. REV. CODE § 19.86.010, et seq.

22          58.     Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

23          59.     This claim is brought by Plaintiff on behalf of the class.
24          60.     Defendant, Plaintiff, and the Class members are “persons” within the meaning
25
     of Wash. Rev. Code § 19.86.010(1).
26
            61.     Defendant was and is engaged in “trade” or “commerce” within the meaning of
27

28

     CLASS ACTION COMPLAINT -15-
      Case 2:22-cv-00192-TOR         ECF No. 1      filed 08/25/22      PageID.16 Page 16 of 69




     Wash. Rev. Code § 19.86.010(2).
 1

 2          62.     The Washington Unfair Trade Practices Act (“Washington UTPA”) prohibits

 3   “unfair methods of competition and unfair or deceptive acts or practices in the conduct of any
 4   trade or commerce” Wash. Rev. Code § 19.86.020.
 5
            63.     As alleged herein, Defendant, through its agents, employees, and/or subsidiaries,
 6
     violated the Washington UTPA by knowingly and intentionally concealing and failing to
 7
     disclose material facts regarding its application of an arbitrary Projected Sold Adjustment to
 8

 9   comparable vehicles in order to reduce their market value and, as a result, the amount of

10   Defendant’s total-loss payments to insureds, as detailed above.

11          64.     By knowingly and intentionally misrepresenting, omitting, concealing, and
12   failing to disclose material facts regarding its application of an arbitrary Projected Sold
13
     Adjustment to comparable vehicles, as detailed above, Defendant engaged in one or more unfair
14
     or deceptive business practices prohibited by the Washington UTPA.
15
            65.     Defendant’s misrepresentations and omissions regarding its application of an
16

17   arbitrary Projected Sold Adjustment to comparable vehicles were made to Plaintiff and the Class

18   members in a uniform manner.

19          66.     Defendant’s    unfair   or   deceptive   acts      or   practices,   including   its
20
     misrepresentations, concealments, omissions, and suppression of material facts, as alleged
21
     herein, had a tendency or capacity to mislead and create a false impression in consumers’ minds,
22
     and were likely to, and in fact did, deceive reasonable consumers, including Plaintiff and the
23
     Class members, about Defendant’s application of an arbitrary Projected Sold Adjustment to
24

25   comparable vehicles in order to reduce the amount of Defendant’s total-loss payments to its

26   insureds.
27

28

     CLASS ACTION COMPLAINT -16-
      Case 2:22-cv-00192-TOR         ECF No. 1     filed 08/25/22    PageID.17 Page 17 of 69




              67.   The facts regarding Defendant’s application of an arbitrary Projected Sold
 1

 2   Adjustment to comparable vehicles that Defendant knowingly and intentionally misrepresented,

 3   omitted, concealed, and/or failed to disclose would be considered material by a reasonable
 4   consumer, and they were, in fact, material to Plaintiff and the Class members, who consider
 5
     such facts to be important to their purchase decisions with respect to Defendant’s insurance
 6
     coverage.
 7
              68.   Plaintiff and Class members had no way of discerning that Defendant’s
 8

 9   representations were false and misleading, or otherwise learning the facts that Defendant had

10   concealed or failed to disclose. Plaintiff and Class members did not, and could not, unravel

11   Defendant’s deception on their own.
12            69.   Defendant had an ongoing duty to Plaintiff and the Class members to refrain
13
     from engaging in unfair or deceptive practices under the Washington UTPA in the course of its
14
     business. Specifically, Defendant owed Plaintiff and Class members a duty to disclose all the
15
     material facts concerning its application of an arbitrary Projected Sold Adjustment to
16

17   comparable vehicles because Defendant possessed exclusive knowledge of those facts, it

18   intentionally concealed those facts from Plaintiff and the Class members, and/or it made

19   misrepresentations that were rendered misleading because they were contradicted by withheld
20
     facts.
21
              70.   Plaintiff and the Class members were aggrieved by Defendant’s violations of the
22
     Washington UTPA because they suffered ascertainable loss and actual damages as a direct and
23
     proximate result of Defendant’s knowing and intentional misrepresentations, omissions,
24

25   concealments, and failures to disclose material facts regarding its application of an arbitrary

26   Projected Sold Adjustment to comparable vehicles, including that the Projected Sold
27

28

     CLASS ACTION COMPLAINT -17-
      Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22   PageID.18 Page 18 of 69




     Adjustment is arbitrarily selected and applied, in an inconsistent manner designed to decrease
 1

 2   Defendant’s total-loss payments under the Policy.

 3          71.     Plaintiff and the Class members purchased Defendant’s insurance coverage in
 4   reliance on Defendant’s misrepresentations, omissions, concealments, and/or failures to disclose
 5
     material facts regarding its purported payment of ACV in the event of a total loss and
 6
     Defendant’s application of an arbitrary Projected Sold Adjustment to comparable vehicles to
 7
     artificially reduce its total-loss payments to insureds.
 8

 9          72.     Had Defendant not engaged in the deceptive acts and practices alleged herein,

10   Plaintiff and Class members would not have purchased insurance coverage from Defendant, or

11   would not have paid as much for it and, thus, they did not receive the benefit of the bargain
12   and/or they suffered out-of-pocket loss.
13
            73.     Defendant’s violations of the Washington UTPA present a continuing risk of
14
     future harm to Plaintiff and the Class members.
15
            74.     Plaintiff and the Class members seek an order enjoining Defendant’s unfair and
16

17   deceptive acts or practices in violation of the Washington UTPA and awarding actual damages

18   or, in the Court’s discretion, treble damages as permitted by law, costs, attorneys’ fees, and any

19   other just and proper relief available under the Washington UTPA.
20
                                                COUNT 2
21                                         BREACH OF CONTRACT

22          75.     Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.
23          76.     This claim is brought by Plaintiff on behalf of the Class.
24
            77.     Plaintiff made a claim for property damage on her Progressive insurance policy.
25
            78.     At the time of her claim, and in the time since, Plaintiff has performed all
26
     obligations under her policy of insurance and was entitled to the benefits she contracted for in
27

28

     CLASS ACTION COMPLAINT -18-
      Case 2:22-cv-00192-TOR           ECF No. 1      filed 08/25/22     PageID.19 Page 19 of 69




     her policy.
 1

 2          79.     Through the use of improper and unfounded Projected Sold Adjustments in

 3   Mitchell vehicle valuation reports, as detailed above, Defendant handled, adjusted, and paid
 4   Plaintiff’s claim, and the claims of the members of the proposed Class, for less than the ACV
 5
     required by the insurance contract, in breach of said contract.
 6
            80.     As a direct result of Defendant’s breaches, Plaintiff and members of the Class
 7
     sustained actual damages. Plaintiff’s damages are at least $866.00 (before calculation of
 8

 9   additional sales tax benefits), plus pre-judgment and post-judgment interest.

10                                      COUNT 3
                 BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
11
            81.     Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.
12

13          82.     This claim is brought by Plaintiff on behalf of the Class.

14          83.     Every contract, including the Policy, contains an implied covenant of good faith

15   and fair dealing. The purpose of this duty is to ensure that parties do not take advantage of each
16
     other in a way that could not have been contemplated at the time the contract was drafted or do
17
     anything that will destroy the other party’s right to receive the benefit of the contract.
18
            84.     Disputes involving the exercise of good faith arise when one party is given broad
19
     discretion in performing its obligations under the contract. Where a contract specifically vests
20

21   one of the parties with broad discretion in performing a term of the contract, the covenant of

22   good faith and fair dealing requires that the discretion be exercised reasonably and with proper
23   motive, not arbitrarily, capriciously, or in a manner inconsistent with the reasonable
24
     expectations of the parties.
25
           85.      To the extent the Policy provides Defendant with in calculating the ACV of an
26
     insured’s total-loss vehicle, Defendant exercised its discretion unreasonably, with an improper
27

28

     CLASS ACTION COMPLAINT -19-
      Case 2:22-cv-00192-TOR          ECF No. 1      filed 08/25/22     PageID.20 Page 20 of 69




     motive, and in a manner that was arbitrary, capricious, and inconsistent with the reasonable
 1

 2   expectations of the parties, specifically, to arbitrarily reduce the amount of their total-loss

 3   payments to insureds, as alleged herein.
 4          86.     Defendant breached the covenant of good faith and fair dealing by, inter alia:
 5
               a. Intentionally inventing and applying Projected Sold Adjustments to undervalue
 6
               comparable vehicles, and, in turn, insureds’ total-loss vehicles;
 7
               b. Failing to conduct any investigation or study or research into whether the Projected
 8

 9             Sold Adjustment (i) reflects the used auto market, (ii) is based on accurate data or

10             extrapolations, (iii) is consistent with accepted appraisal methods and practices, or (iv)

11             has any justification whatsoever;
12             c. Failing to pay insureds the ACV of their total-loss vehicles;
13
               d. Interpreting the terms and conditions of their insurance policies in an unreasonable
14
               manner solely in an effort to understate the value of total- loss vehicles and avoid
15
               paying insureds the ACV on their total-loss claims;
16

17             e. Inventing spurious grounds for undervaluing total loss claims that are hidden, not

18             specific in dollar amount, not adequately explained, and unreasonable.

19          87.     Defendant’s breaches of the covenant of good faith and fair dealing have caused
20
     damages to Plaintiff and the Class. Plaintiff’s and the Class members’ damages include the
21
     amounts improperly deducted by Defendant from its payments to insureds on the basis of a
22
     Projected Sold Adjustment.
23
                                           COUNT 4
24
                                    DECLARATORY JUDGMENT
25

26          88.     Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

27          89.     This claim is brought by Plaintiff on behalf of the Class.
28

     CLASS ACTION COMPLAINT -20-
      Case 2:22-cv-00192-TOR            ECF No. 1       filed 08/25/22     PageID.21 Page 21 of 69




             90.     A judiciable dispute between Plaintiff and the proposed Class and the Defendant
 1

 2   is before this Court under 28 U.S.C. § 2201, et seq., concerning the construction of the auto

 3   insurance policies issued by Defendant and the rights arising under those policies.
 4           91.     Plaintiff, for herself and on behalf of the Class, seeks a declaration of rights and
 5
     liabilities of the parties herein. Specifically, Plaintiff is seeking a declaration that in paying total
 6
     loss claims with first-party insureds, it is a breach of the insurance contract with Progressive for
 7
     Progressive to base the valuation and payment of claims on values of comparable vehicles that
 8

 9   have been reduced by factually erroneous Projected Sold Adjustments.

10           92.     Progressive’s unlawful common policy and general business practice of applying

11   Projected Sold Adjustments is ongoing. Accordingly, Progressive has breached, and continues
12   to breach, the express terms of its contracts of insurance with Plaintiff and members of the Class
13
     requiring it to settle total loss claims on the basis of the total loss vehicle’s ACV.
14
             93.     As a result of these breaches of contract, Plaintiff and the proposed Class
15
     members have been injured. Plaintiff’s and proposed Class members’ damages include the
16

17   amounts illegally deducted by Progressive from the insureds’ payments.

18           94.     Plaintiff seeks a declaration that Progressive’s application of unfounded

19   Projected Sold Adjustments results in a valuation of less than the ACV Progressive is required
20
     under its insurance contracts to pay insureds.
21
                                               JURY DEMAND
22
             Plaintiff demands a trial by jury on all issues so triable.
23

24                                         PRAYER FOR RELIEF
25

26           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

27   respectfully requests that this Court:

28

     CLASS ACTION COMPLAINT -21-
      Case 2:22-cv-00192-TOR      ECF No. 1      filed 08/25/22     PageID.22 Page 22 of 69




          a)   determine that this action may be maintained as a class action under Federal Rule
 1

 2             of Civil Procedure 23, certify the proposed Class for class treatment, appoint

 3             Plaintiff as class representative for the Class, and appoint undersigned counsel as
 4             Class Counsel;
 5
          b)   enter an order finding that Defendant’s actions described herein constitute breaches
 6
               of the express terms of its policies of insurance;
 7
          c)   award Plaintiff and members of the Class actual damages according to proof;
 8

 9        d)   enter a declaratory judgment that in paying total loss claims with first-party

10             insureds, it is a breach of the insurance contract with Defendant for Defendant to

11             base the valuation and payment of claims on values of comparable vehicles that
12             have been reduced by Projected Sold Adjustments;
13
          e)   enter further belief based on the declaratory judgment including an order enjoining
14
               Defendant from basing the valuation and payment of claims on values of
15
               comparable vehicles that have been reduced by Projected Sold Adjustments;
16

17        f)   award pre-judgment and post-judgment interest at the maximum rate permitted by

18             applicable law;

19        g)   award reasonable attorney’s fees and litigation costs and expenses pursuant to
20
               applicable law; and
21
          h)   grant such other legal and equitable relief as the Court may deem appropriate,
22
               including specific performance as an alternative to damages.
23

24

25

26
27

28

     CLASS ACTION COMPLAINT -22-
      Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.23 Page 23 of 69




     Dated: August 25, 2022                    Respectfully submitted,
 1

 2
                                               THE HARBOR LAW GROUP
 3
                                               /s/ Kira M. Rubel
 4                                             Kira M. Rubel, WSBA No. 51691
 5                                             kira@theharborlawgroup.com
                                               3615 Harborview Dr., Suite C
 6                                             Gig Harbor, WA 98332
                                               (253) 358-2215
 7
                                               SHAMIS & GENTILE, P.A.
 8                                             Andrew J. Shamis*
 9                                             ashamis@shamisgentile.com
                                               14 NE 1st Ave, Suite 705
10                                             Miami, FL 33132
                                               Tel: (305) 479-2299
11
                                               EDELSBERG LAW, PA
12                                             Scott Edelsberg*
13                                             scott@edelsberglaw.com
                                               20900 NE 30th Ave Ste 417
14                                             Aventura, FL 33180
                                               Tel: 305-975-3320
15
                                               *Pro Hac Vice forthcoming
16

17                                             Attorneys for Plaintiff and the Putative
                                               Class
18

19

20

21

22

23

24

25

26
27

28

     CLASS ACTION COMPLAINT -23-
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.24 Page 24 of 69




                EXHIBIT A
                           9611A WA 0716
2:22-cv-00192-TOR          ECF No. 1       filed 08/25/22   PageID.25 Page 25




    WASHINGTON
    AUTO POLICY




   Form 9611A WA (07/16)
   version 2.0
2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.26 Page 26
2:22-cv-00192-TOR                   ECF No. CONTENTS
                                            1 filed 08/25/22                           PageID.27 Page 27

  INSURING AGREEMENT.................................................................................. 1

  GENERAL DEFINITIONS.................................................................................. 1

  PART I—LIABILITY TO OTHERS
     Insuring Agreement......................................................................................3
     Additional Definitions....................................................................................3
     Additional Payments.....................................................................................3
     Exclusions....................................................................................................4
     Limits of Liability...........................................................................................5
     Financial Responsibility Laws......................................................................6
     Other Insurance...........................................................................................6
     Out-of-State Coverage.................................................................................6

  PART II—PERSONAL INJURY PROTECTION COVERAGE
     Insuring Agreement......................................................................................7
     Additional Definitions....................................................................................7
     Exclusions....................................................................................................8
     Limits of Liability...........................................................................................9
     Other Insurance...........................................................................................9
     Arbitration................................................................................................... 10

  PART III—UNDERINSURED MOTORIST COVERAGE
     Insuring Agreement—Underinsured Motorist Bodily Injury Coverage........ 10
     Insuring Agreement—Underinsured Motorist Property
  		 Damage Coverage.................................................................................. 10
     Additional Definitions.................................................................................. 11
     Exclusions..................................................................................................12
     Limits of Liability.........................................................................................13
     Other Insurance.........................................................................................14
     Arbitration...................................................................................................14

  PART IV—DAMAGE TO A VEHICLE
     Insuring Agreement—Collision Coverage..................................................15
     Insuring Agreement—Comprehensive Coverage.......................................15
     Insuring Agreement—Additional Custom Parts or
  		 Equipment Coverage..............................................................................16
     Insuring Agreement—Rental Reimbursement Coverage............................16
     Insuring Agreement—Loan/Lease Payoff Coverage..................................17
     Insuring Agreement—Pet Injury Coverage.................................................18
     Additional Definitions..................................................................................18
     Exclusions..................................................................................................18
     Limits of Liability.........................................................................................20
     Payment of Loss........................................................................................21

                                                            i
2:22-cv-00192-TOR        ECF No. 1 filed 08/25/22 PageID.28 Page 28
      No Benefit to Bailee...................................................................................22
         Loss Payable Clause..................................................................................22
         Other Sources of Recovery........................................................................23
         Appraisal....................................................................................................23

    PART V—ROADSIDE ASSISTANCE COVERAGE
       Insuring Agreement....................................................................................23
       Additional Definitions..................................................................................24
       Exclusions..................................................................................................24
       Unauthorized Service Provider..................................................................25
       Other Insurance.........................................................................................25

    PART VI—DUTIES IN CASE OF AN ACCIDENT OR LOSS............................25

    PART VII—GENERAL PROVISIONS
       Policy Period and Territory..........................................................................26
       Changes.....................................................................................................26
       Duty to Report Changes............................................................................27
       Settlement of Claims..................................................................................27
       Terms of Policy Conformed to Statutes......................................................27
       Transfer of Interest.....................................................................................27
       Fraud or Misrepresentation........................................................................27
       Payment of Premium and Fees..................................................................28
       Cancellation...............................................................................................28
       Cancellation Refund...................................................................................29
       Nonrenewal................................................................................................29
       Automatic Termination................................................................................30
       Legal Action Against Us.............................................................................30
       Our Rights to Recover Payment.................................................................30
       Joint and Individual Interests......................................................................31
       Bankruptcy.................................................................................................31




                                                             ii
2:22-cv-00192-TOR           ECF No. 1 filed
                             WASHINGTON AUTO08/25/22
                                             POLICY                 PageID.29 Page 29

                                 INSURING AGREEMENT

  In return for your payment of the premium, we agree to insure you subject to all the
  terms, conditions and limitations of this policy. We will insure you for the coverages
  and the limits of liability shown on this policy’s declarations page. Your policy consists
  of the policy contract, your insurance application, the declarations page, and all en-
  dorsements to this policy.

                                 GENERAL DEFINITIONS

  The following definitions apply throughout the policy. Defined terms are printed in bold-
  face type and have the same meaning whether in the singular, plural, or any other form.
  1.	“Additional auto” means an auto you become the owner of during the policy pe-
      riod that does not permanently replace an auto shown on the declarations page
      if:
      a.	  we insure all other autos you own;
      b.	the additional auto is not covered by any other insurance policy;
      c.	you notify us within 30 days of becoming the owner of the additional auto;
            and
      d.	  you pay any additional premium due.
  	An additional auto will have the broadest coverage we provide for any auto shown
      on the declarations page. If you ask us to insure an additional auto more than
      30 days after you become the owner, any coverage we provide will begin at the
      time you request coverage.
  2.	“Auto” means a land motor vehicle:
      a.	of the private passenger, pickup body, or cargo van type;
      b.	designed for operation principally upon public roads;
      c.	with at least four wheels; and
      d.	with a gross vehicle weight rating of 12,000 pounds or less, according to the
            manufacturer’s specifications.
  	However, “auto” does not include step-vans, parcel delivery vans, or cargo cutaway
      vans or other vans with cabs separate from the cargo area.
  3.	“Auto business” means the business of selling, leasing, repairing, parking, storing,
      servicing, delivering or testing vehicles.
  4.	“Bodily injury” means bodily harm, sickness, or disease, including death that re-
      sults from bodily harm, sickness, or disease.
  5.	“Covered auto” means:
      a.	any auto or trailer shown on the declarations page for the coverages appli-
            cable to that auto or trailer;
      b.	any additional auto;
      c.	any replacement auto; or
      d.	a trailer owned by you.
  6.	“Declarations page” means the document showing your coverages, limits of li-
      ability, covered autos, premium, and other policy-related information. The declara-
      tions page may also be referred to as the Auto Insurance Coverage Summary.
                                              1
2:22-cv-00192-TOR
   7.	“Occupying” meansECF
                        in, on,No.  1 orfiled
                               entering         08/25/22
                                          exiting.                   PageID.30 Page 30
   8.	“Personal vehicle sharing program” means a system or process, operated by a
        business, organization, network, group, or individual, that facilitates the sharing of
        private passenger motor vehicles for use by individuals, businesses, or other enti-
        ties.
   9.	“Rated resident” means a person residing in the same household as you at the
        time of the loss who is not a relative, but only if that person is both:
        a.	listed in the “Drivers and household residents” section on the declarations
              page; and
        b.	not designated as either an “Excluded” or a “List Only” driver.
   10.	“Relative” means a person residing in the same household as you, and related
        to you by blood, marriage, domestic partnership pursuant to Washington law, or
        adoption, and includes a ward, stepchild, or foster child. Your unmarried depen-
        dent children temporarily away from home will qualify as a relative if they intend to
        continue to reside in your household.
   11.	“Replacement auto” means an auto that permanently replaces an auto shown
        on the declarations page. A replacement auto will have the same coverage as
        the auto it replaces if the replacement auto is not covered by any other insurance
        policy. However, if the auto being replaced had coverage under Part IV—Damage
        To A Vehicle, such coverage will apply to the replacement auto only during the first
        30 days after you become the owner unless you notify us within that 30-day period
        that you want us to extend coverage beyond the initial 30 days. If the auto being
        replaced did not have coverage under Part IV—Damage To A Vehicle, such cover-
        age may be added, but the replacement auto will have no coverage under Part IV
        until you notify us of the replacement auto and ask us to add the coverage.
   12.	“Ride-sharing activity” means the use of any vehicle to provide transportation
        of persons or property in connection with a transportation network company
        from the time a user logs on to, or signs in to, any online-enabled application, soft-
        ware, website or system until the time the user logs out of, or signs off of, any
        such online-enabled application, software, website or system, whether or not the
        user has accepted any passenger(s) or delivery assignment, including the time the
        user is on the way to pick up any passenger(s) or property, or is transporting any
        passenger(s) or property.
   13.	“Trailer” means a non-motorized trailer, including a farm wagon or farm implement,
        designed to be towed on public roads by an auto and not being used:
        a.	for commercial purposes;
        b.	as an office, store, or for display purposes; or
        c.	as a passenger conveyance.
   14.	“Transportation network company” means a corporation, partnership, sole
        proprietorship, or other entity that uses any online-enabled application, software,
        website or system to connect drivers with clients or passengers to facilitate and/or
        provide transportation or delivery services for compensation or a fee.
   15.	“We,” “us” and “our” mean the underwriting company providing the insurance, as
        shown on the declarations page.
   16.	“You” and “your” mean:
        a.	a person shown as a named insured on the declarations page; and
                                               2
2:22-cv-00192-TOR          ECFif residing
      b.	the following person,  No. 1 in filed 08/25/22
                                          the same household PageID.31     Page
                                                             as a named insured at 31
            the time of the loss.
   		       (i) the spouse of a named insured; or
   		       (ii)	a person who has entered into a domestic partnership with a named in-
                  sured pursuant to Washington law.

                              PART I—LIABILITY TO OTHERS

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay damages for bodily injury and
   property damage for which an insured person becomes legally responsible because
   of an accident.

   Damages include prejudgment interest awarded against an insured person.

   We will settle or defend, at our option, any claim for damages covered by this Part I.

   ADDITIONAL DEFINITIONS

   When used in this Part I:
   1. “Insured person” means:
       a.	you, a relative, or a rated resident with respect to an accident arising out of
           the ownership, maintenance or use of an auto or a trailer;
       b.	any person with respect to an accident arising out of that person’s use of a
           covered auto with the permission of you, a relative, or a rated resident;
       c.	any person or organization with respect only to vicarious liability for the acts or
           omissions of a person described in a. or b. above; and
       d.	any “Additional Interest” shown on the declarations page with respect only to
           its liability for the acts or omissions of a person described in a. or b. above.
   2.	“Property damage” means physical damage to, destruction of, or loss of use of,
       tangible property.

   ADDITIONAL PAYMENTS

   In addition to our limit of liability, we will pay for an insured person:
   1.	all expenses we incur in the settlement of any claim or defense of any lawsuit;
   2.	interest accruing after entry of judgment, until we have paid, offered to pay, or de-
        posited in court, that portion of the judgment which does not exceed our limit of
        liability. This does not apply if we have not been given notice of suit or the opportu-
        nity to defend an insured person;
   3.	the premium on any appeal bond or attachment bond required in any lawsuit we
        defend. We have no duty to purchase a bond in an amount exceeding our limit of
        liability, and we have no duty to apply for or furnish these bonds;
   4.	up to $250 for a bail bond required because of an accident resulting in bodily in-
        jury or property damage covered under this Part I. We have no duty to apply for
        or furnish this bond; and
                                                3
2:22-cv-00192-TOR        ECF
   5.	reasonable expenses,      No. loss
                            including 1 offiled 08/25/22
                                             earnings         PageID.32
                                                      up to $200              Page
                                                                 per day, incurred at 32
       our request.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART I.

   Coverage under this Part I, including our duty to defend, will not apply to any insured
   person for:
   1.	bodily injury or property damage arising out of the ownership, maintenance or
       use of any vehicle or trailer while being used:
       a.	to carry persons or property for compensation or a fee;
       b.	for retail or wholesale delivery, including, but not limited to, the pickup, transport
            or delivery of magazines, newspapers, mail or food; or
       c. for ride-sharing activity.
       This exclusion does not apply to shared-expense car pools;
   2.	any liability assumed under any contract or agreement by you, a relative, or a
       rated resident;
   3.	bodily injury to an employee of that insured person arising out of or within the
       course of employment. This exclusion does not apply to domestic employees if
       benefits are neither paid nor required to be provided under workers’ compensation,
       disability benefits, or similar laws;
   4.	bodily injury or property damage arising out of an accident involving any vehicle
       while being maintained or used by a person while employed or engaged in any
       auto business. This exclusion does not apply to you, a relative, a rated resident,
       or an agent or employee of you, a relative, or a rated resident, when using a
       covered auto;
   5.	bodily injury or property damage resulting from, or sustained during practice or
       preparation for:
       a.	any pre-arranged or organized racing, stunting, speed or demolition contest or
            activity; or
       b.	any driving activity conducted on a permanent or temporary racetrack or race-
            course;
   6.	bodily injury or property damage due to a nuclear reaction or radiation;
   7.	bodily injury or property damage for which insurance:
       a.	is afforded under a nuclear energy liability insurance contract; or
       b.	would be afforded under a nuclear energy liability insurance contract but for its
            termination upon exhaustion of its limit of liability;
   8.	any obligation for which the United States Government is liable under the Federal
       Tort Claims Act;
   9.	bodily injury or property damage caused by an intentional act of that insured
       person, or at the direction of that insured person, even if the actual injury or dam-
       age is different than that which was intended or expected;
       property damage to any property owned by, rented to, being transported by, used
   10.	
       by, or in the charge of that insured person. This exclusion does not apply to a
       rented residence or a rented garage;

                                                 4
2:22-cv-00192-TOR          ECF damage
       bodily injury or property
   11.	                         No. 1 arising
                                        filed out
                                               08/25/22     PageID.33
                                                  of the ownership,         Page
                                                                    maintenance or 33
        use of any vehicle owned by you or furnished or available for your regular use,
        other than a covered auto for which this coverage has been purchased;
   12.	bodily injury or property damage arising out of the ownership, maintenance or
        use of any vehicle owned by a relative or a rated resident or furnished or available
        for the regular use of a relative or a rated resident, other than a covered auto for
        which this coverage has been purchased. This exclusion does not apply to your
        maintenance or use of such vehicle;
   13.	bodily injury or property damage arising out of your, a relative’s, or a rated
        resident’s use of a vehicle, other than a covered auto, without the permission of
        the owner of the vehicle or the person in lawful possession of the vehicle;
   14.	bodily injury or property damage arising out of the use of a covered auto while
        leased or rented to others or given in exchange for any compensation, including
        while being used in connection with a personal vehicle sharing program. This
        exclusion does not apply to the operation of a covered auto by you, a relative, or
        a rated resident; or
   15.	punitive or exemplary damages.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for liability coverage is the most we
   will pay regardless of the number of:
   1.	claims made;
   2.	  covered autos;
   3.	  insured persons;
   4.	lawsuits brought;
   5.	vehicles involved in the accident; or
   6.	premiums paid.

   If your declarations page shows a split limit:
   1.	the amount shown for “each person” is the most we will pay for all damages due to
        bodily injury to one person resulting from any one accident;
   2.	subject to the “each person” limit, the amount shown for “each accident” is the most
        we will pay for all damages due to bodily injury sustained by two or more persons
        in any one accident; and
   3.	the amount shown for “property damage” is the most we will pay for the total of all
        property damage resulting from any one accident.

   The “each person” limit of liability applies to the total of all claims made for bodily injury
   to a person and all claims of others derived from such bodily injury, including, but not
   limited to, emotional injury or mental anguish resulting from the bodily injury of another
   or from witnessing the bodily injury to another, loss of society, loss of companionship,
   loss of services, loss of consortium, and wrongful death.

   If the declarations page shows that “combined single limit” or “CSL” applies, the
   amount shown is the most we will pay for the total of all damages resulting from any
                                                 5
2:22-cv-00192-TOR          ECF changing
   one accident. However, without No. 1 this
                                          filed
                                             limit08/25/22          PageID.34
                                                   of liability, we will              Page
                                                                         comply with any law 34
    that requires us to provide any separate limits.

    No one is entitled to duplicate payments for the same elements of damages.

    Any payment under this Part I to a person other than you, a relative, or a rated resident
    will be reduced by any payment to that person under Part III—Underinsured Motorist
    Coverage.

    We will not pay under this Part I any expenses paid or payable under Part II—Personal
    Injury Protection Coverage.

    If multiple auto policies issued by us are in effect for you, we will pay no more than the
    highest limit of liability for this coverage available under any one policy.

    An auto and attached trailer are considered one auto. Therefore, the limits of liability
    will not be increased for an accident involving an auto that has an attached trailer.

    FINANCIAL RESPONSIBILITY LAWS

    When we certify this policy as proof of financial responsibility, this policy will comply with
    the law to the extent required. The insured person must reimburse us if we make a
    payment that we would not have made if this policy was not certified as proof of financial
    responsibility.

    OTHER INSURANCE

    If there is any other applicable liability insurance or bond, any liability insurance we pro-
    vide will be excess over any other applicable liability insurance or bond. If more than one
    liability insurance policy or bond applies on an excess basis, we will pay only our share
    of the damages. Our share is the proportion that our limit of liability bears to the total of
    all applicable limits.

    OUT-OF-STATE COVERAGE

    If an accident to which this Part I applies occurs in any state, territory or possession of
    the United States of America or any province or territory of Canada, other than the one
    in which a covered auto is principally garaged, and the state, province, territory or pos-
    session has:
    1.	a financial responsibility or similar law requiring limits of liability for bodily injury
         or property damage higher than the limits shown on the declarations page, this
         policy will provide the higher limits; or
    2.	a compulsory insurance or similar law requiring a non-resident to maintain insur-
         ance whenever the non-resident uses an auto in that state, province, territory or
         possession, this policy will provide the greater of:
         a.	the required minimum amounts and types of coverage; or
         b.	the limits of liability under this policy.
                                                  6
2:22-cv-00192-TOR    ECF No.INJURY
           PART II—PERSONAL  1 filed 08/25/22 COVERAGE
                                   PROTECTION  PageID.35 Page 35

  INSURING AGREEMENT

  Subject to the Limits of Liability, if you pay the premium for Personal Injury Protection
  Coverage, we will pay the following benefits to or on behalf of an insured person for
  losses or expenses incurred because of bodily injury sustained by an insured person
  caused by an accident and arising out of the ownership, operation, maintenance, or use
  of an automobile:
  1. medical and hospital benefits;
  2.	income continuation benefits to or on behalf of each insured person engaged
      in a remunerative occupation at the time of the accident;
  3. funeral expenses; and
  4. loss of services benefits.

  ADDITIONAL DEFINITIONS

  When used in this Part II:
  1.	“Automobile” means a motor vehicle designed for carrying 10 passengers or less
      and used for the transportation of persons.
      An “automobile” does not include any of the following motor vehicles:
      a. motorcycles;
      b. motor-driven cycles;
      c.	farm-type tractors or other self-propelled equipment designed for use princi-
          pally off public roads;
      d. motor vehicles operated on rails or crawler treads;
      e. motor vehicles located for use as a residence;
      f. motor homes, as defined by Revised Code of Washington 46.04.305; or
      g. mopeds, as defined by Revised Code of Washington 46.04.304.
  2.	“Funeral expenses” means payment for reasonable funeral expenses incurred
      because of bodily injury sustained by an insured person in an accident.
  3.	“Income continuation benefits” means payment of an insured person’s loss of
      income from work, subject to the following:
      a.	income from work lost between the date of the accident and the14th day after
          the accident will not be paid;
      b. payments will end the earliest of:
  		 (i)	the date on which the insured person is reasonably able to perform the
                duties of his or her usual occupation;
  		      (ii) 54 weeks from the date of the accident; or
   		     (iii) the date of the insured person’s death; and
      c.	income earned during the period income continuation benefits are being
          paid will be deducted from income continuation benefits.
  4. “Insured person” means:
      a. you, a relative, or a rated resident; and
      b. any other person:
  		(i)	       who sustains bodily injury while using or occupying a covered auto
                with your permission; or
  		      (ii) when struck by a covered auto while a pedestrian.
                                             7
2:22-cv-00192-TOR         ECF No.
   5.	“Loss of services benefits”   1 reimbursement
                                   means filed 08/25/22    PageID.36
                                                     for payment to personsPage
                                                                            other 36
       than members of the insured person’s household for expenses reasonably in-
       curred for essential services actually rendered in lieu of those the insured person
       would have performed without compensation if the insured person had not sus-
       tained bodily injury in the accident. Payment for such expenses will end the earli-
       est of:
       a. the date the insured person is reasonably able to perform such services;
       b. 52 weeks from the date of the accident; or
       c. the date of the insured person’s death.
   6.	“Medical and hospital benefits” means payment of the reasonable and neces-
       sary expenses incurred by or on behalf of an insured person within three years
       of the date of the accident for health care services provided by persons licensed
       by law to render such services and for pharmaceuticals, prosthetic devices, eye-
       glasses, and necessary ambulance, hospital, and professional nursing services. To
       determine whether a charge for medical and hospital benefits is reasonable and
       necessary, we may consider outside sources of information of our choice, includ-
       ing, but not limited to:
       a. licensed, certified or registered health care professionals;
       b. medical examinations;
       c. medical file reviews; or
       d. computerized databases.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART II.

   Coverage under this Part II does not apply to bodily injury:
   1. sustained by any person while occupying a covered auto while it is being used:
        a. to carry persons or property for compensation or a fee;
        b.	for retail or wholesale delivery, including, but not limited to, the pickup, trans-
             port, or delivery of magazines, newspapers, mail, or food; or
        c. for ride-sharing activity.
        This exclusion does not apply to shared-expense car pools;
   2. to any person who intentionally causes their own bodily injury;
   3.	resulting from any pre-arranged or organized racing or speed contest, or in practice
        or preparation for any such contest;
   4. due to war, whether or not declared, or to an act or condition incident to war;
   5.	resulting from the radioactive, toxic, explosive, or other hazardous properties of
        nuclear material;
   6.	to you, a relative, or a rated resident while occupying a motor vehicle, other than
        a covered auto owned by you or furnished for your regular use;
   7.	to a relative while occupying a motor vehicle, other than a covered auto owned
        by the relative or furnished for the regular use of a relative;
   8.	to any person who sustains bodily injury while using an automobile in the com-
        mission of a felony; or
   9. 	arising out of the use of a covered auto while being used in connection with a per-
        sonal vehicle sharing program. This exclusion does not apply to the operation of
        a covered auto by you, a relative, or a rated resident.
                                                8
2:22-cv-00192-TOR
   LIMITS OF LIABILITY ECF No. 1             filed 08/25/22        PageID.37 Page 37
  The Limits of Liability for losses or expenses incurred by or on behalf of one insured
  person because of bodily injury sustained in any one accident will be as follows:
  1. $10,000 for medical and hospital benefits;
  2.	$10,000 for income continuation benefits, subject to a limit of $200 per week.
      However the combined weekly payment an insured person may receive under
      personal injury protection coverage, workers’ compensation, disability insurance, or
      other income continuation benefits may not exceed 85 percent of the insured
      person’s weekly income at the time of the accident;
  3. $2,000 for funeral expenses; and
  4.	$5,000 for loss of services benefits subject to a limit of $40 per day, not to exceed
      $200 per week.

  However, if you have paid the premium for Additional Personal Injury Protection
  Coverage, the Limits of Liability for losses or expenses incurred by or on behalf of one
  insured person because of bodily injury sustained in one accident will be as follows:
  1. $35,000 for medical and hospital benefits;
  2.	$35,000 for income continuation benefits, subject to a limit of $700 per week.
      However the combined weekly payment an insured person may receive under
      personal injury protection coverage, workers’ compensation, disability insurance, or
      other income continuation benefits may not exceed 85 percent of the insured
      person’s weekly income at the time of the accident;
  3. $2,000 for funeral expenses; and
  4.	$14,600 for loss of services benefits subject to a limit of $40 per day for up to one
      year from the date of the accident.

  The Limits of Liability are the most we will pay for all losses and expenses incurred
  because of bodily injury to one insured person sustained in one accident, regardless
  of the number of:
  1. claims made;
  2. covered autos;
  3. insured persons;
  4. lawsuits brought;
  5. automobiles involved in an accident; or
  6. premiums paid.

  Any amount payable under this Part II will be reduced by any amount paid or payable
  because of bodily injury under any of the following or similar laws:
  1. workers’ compensation law; or
  2. medical or disability benefits law.

  Payments under this Part II are limited to the amount of the actual loss or expense
  incurred.

  OTHER INSURANCE

  If there is other applicable automobile medical payments insurance or personal injury
  protection coverage for medical and hospital benefits, we will pay only our share of
                                             9
2:22-cv-00192-TOR
   the damages. Our shareECF
                         is the No. 1 filed
                                proportion      08/25/22
                                           that our            PageID.38
                                                    Limit of Liability          Page
                                                                       for medical and 38
   hospital benefits bears to the total of all applicable limits. Any insurance that we pro-
   vide for an insured person while using, occupying, or when struck by an automobile,
   other than a covered auto, will be excess over any other medical payments or personal
   injury protection coverage.

   ARBITRATION

   If we and an insured person cannot agree on the amount payable under this Part II
   and have agreed to submit the dispute to arbitration, the decision as to the amount pay-
   able under this Part II will be made by an arbitrator agreed to by the parties. If the parties
   cannot agree on an arbitrator within 30 days, then on joint application by us and the
   insured person, the arbitrator will be appointed by a court having jurisdiction.

   Each party will pay half the costs of the arbitrator. Each party will pay their own expens-
   es. Unless both parties agree otherwise, arbitration will take place in the county where
   the insured person resides. Local rules of procedure and evidence will apply.

   The written decision of the arbitrator will be binding on the parties as to the amount of
   benefits payable under this Part II. The arbitrator will have no authority to award:
   1. costs, expenses, interest or fees; or
   2. an amount in excess of the Limit of Liability under this Part II.

                   PART III—UNDERINSURED MOTORIST COVERAGE

   INSURING AGREEMENT—UNDERINSURED MOTORIST
   BODILY INJURY COVERAGE

   If you pay the premium for this coverage, we will pay for damages that an insured per-
   son is legally entitled to recover from the owner or operator of an underinsured motor
   vehicle because of bodily injury:
   1.	sustained by an insured person;
   2.	caused by an accident; and
   3.	arising out of the ownership, maintenance or use of an underinsured motor ve-
        hicle.

   INSURING AGREEMENT—UNDERINSURED MOTORIST
   PROPERTY DAMAGE COVERAGE

   If you pay the premium for this coverage, we will pay for damages that an insured per-
   son is legally entitled to recover from the owner or operator of an underinsured motor
   vehicle because of property damage:
   1. sustained by an insured person;
   2. caused by an accident; and
   3.	arising out of the ownership, maintenance, or use of an underinsured motor ve-
        hicle.
                                                10
2:22-cv-00192-TOR     ECF No. 1
   ADDITIONAL DEFINITIONS                      filed 08/25/22        PageID.39 Page 39

  When used in this Part III:
  1.	“Accident” means an occurrence that is unexpected and unintended from the
      standpoint of the insured person.
  2.	“Insured person” means:
      a.	you, a relative, or a rated resident;
      b.	any person while operating a covered auto with the permission of you, a rela-
          tive, or a rated resident;
      c.	any person occupying, but not operating, a covered auto; and
      d.	any person who is entitled to recover damages covered by this Part III because
          of bodily injury sustained by a person described in a., b. or c. above.
  3.	“Phantom vehicle” means a vehicle whose operator or owner cannot be identified
      and that causes an accident resulting in bodily injury to an insured person or
      property damage, and has no physical contact with the insured person or the
      vehicle that the insured person is occupying at the time of the accident, if:
      a.	the facts of the accident can be corroborated by competent evidence other
          than your testimony or the testimony of an insured person having a claim
          under this Part III resulting from the accident; and
      b.	the insured person, or someone on his or her behalf, reports the accident to
          the police or civil authority within 72 hours after the accident.
  4. “Property damage” means:
      a. physical damage to or destruction of a covered auto; and
      b.	damages for loss of use of a covered auto incurred by you, up to $30 per
          day for up to 30 days, resulting from physical damage to or destruction of that
          covered auto.
      “Property damage” does not include:
      a. damage to the contents of a covered auto; or
      b. any other form of property damage.
  5.	“Underinsured motor vehicle” means a land motor vehicle or trailer of any type:
      a.	to which no bodily injury liability bond or policy applies at the time of the ac-
          cident;
      b.	to which a bodily injury liability bond or policy applies at the time of the acci-
          dent, but the bonding or insuring company:
  		      (i)	denies coverage; or
  		      (ii)	is or becomes insolvent;
      c.	that is a hit-and-run vehicle whose owner or operator cannot be identified and
          which strikes:
  		(i)	       you, a relative, or a rated resident;
  		      (ii)	a vehicle that you, a relative, or a rated resident are occupying; or
  		(iii)	     a covered auto;
      d. that is a phantom vehicle;
      e.	to which a liability bond or policy applies at the time of the accident, but the
          sum of all applicable limits of liability under all applicable bonds and policies is
          less than the damages that the insured person is legally entitled to recover.

                                              11
2:22-cv-00192-TOR       ECFvehicle”
      An “underinsured motor No. 1 does
                                     filed
                                        not08/25/22      PageID.40
                                           include any vehicle           Page 40
                                                               or equipment:
       a.	owned by you, a relative, or a rated resident or furnished or available for the
           regular use of you, a relative, or a rated resident. However, this exclusion to
           the definition of underinsured motor vehicle does not apply to a covered
           auto with respect to bodily injury to you, a relative, or a rated resident;
       b.	owned by any governmental unit or agency. However, this exclusion to the
           definition of underinsured motor vehicle does not apply if the governmental
           entity is unable to satisfy a claim because of financial inability or its insolvency;
       c.	operated on rails or crawler treads;
       d.	designed mainly for use off public roads, while not on public roads;
       e.	while located for use as a residence or premises; or
       f.	that is a covered auto. However, this limitation on the definition of underin-
           sured motor vehicle does not apply to a covered auto with respect to bodily
           injury to you, a relative, or a rated resident.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART III.

   Coverage under this Part III will not apply:
   1.	to bodily injury sustained by any person while using or occupying:
       a.	a covered auto while being used:
   		       (i)	to carry persons or property for compensation or a fee;
   		 (ii)	for retail or wholesale delivery, including, but not limited to, the pickup,
                 transport or delivery of magazines, newspapers, mail or food; or
   		(iii) for ride-sharing activity.
   		       This exclusion does not apply to shared-expense car pools;
       b.	a motor vehicle that is owned by or available for the regular use of you, a rela-
            tive, or a rated resident. This exclusion does not apply to a covered auto that
            is insured under this Part III; or
       c. a motorcycle or motor-driven cycle.
   2.	to bodily injury sustained by you, a relative, or a rated resident while using any
       vehicle, other than a covered auto, without the permission of the owner of the
       vehicle or the person in lawful possession of the vehicle;
   3.	directly or indirectly to benefit any insurer or self-insurer under any of the following
       or similar laws:
       a.	workers’ compensation law; or
       b.	disability benefits law;
   4.	to any punitive or exemplary damages;
   5.	to bodily injury sustained by any person if that person or the legal representative
       of that person fails to promptly notify us about any tentative settlement;
   6.	to bodily injury or property damage if the insured person intended to cause the
       event for which a claim is made under this Part III;
   7. to property damage:
       a.	sustained while a covered auto is being used:
   		 (i)	to carry persons or property for compensation or a fee, including, but not
                 limited to, delivery of magazines, newspapers, food or any other products;
                 or
                                               12
2:22-cv-00192-TOR
   		(ii)	             ECFactivity.
            for ride-sharing No. 1              filed 08/25/22        PageID.41 Page 41
       This exclusion does not apply to shared-expense car pools;
       b. resulting from, or sustained during practice or preparation for:
   		       (i)	any pre-arranged or organized racing, stunting, speed, or demolition con-
                 test or activity; or
   		 (ii)	any driving activity conducted on a permanent or temporary racetrack or
                 racecourse;
       c. due to a nuclear reaction or radiation;
       d.	for which insurance is afforded under a nuclear energy liability insurance con-
            tract; or
       e. to a trailer; or
   8.	to bodily injury or property damage arising out of the use of a covered auto
       while being used in connection with a personal vehicle sharing program. This
       exclusion does not apply to the operation of a covered auto by you, a relative, or
       a rated resident.

   LIMITS OF LIABILITY

   The limit of liability shown on the declarations page for Underinsured Motorist
   Coverage is the most we will pay regardless of the number of:
   1.	claims made;
   2.	covered autos;
   3.	insured persons;
   4.	lawsuits brought;
   5.	vehicles involved in the accident; or
   6.	premiums paid.

   If your declarations page shows a split limit:
   1.	the amount shown for “each person” is the most we will pay for all damages due to
        bodily injury to one person;
   2.	subject to the “each person” limit, the amount shown for “each accident” is the most
        we will pay for all damages due to bodily injury sustained by two or more persons
        in any one accident; and
   3.	any amount shown for property damage is the most we will pay for the aggregate
        of all property damage caused by any one accident.

   The “each person” limit of liability includes the total of all claims made for bodily injury
   to an insured person and all claims of others derived from such bodily injury, includ-
   ing, but not limited to, emotional injury or mental anguish resulting from the bodily in-
   jury of another or from witnessing the bodily injury to another, loss of society, loss of
   companionship, loss of services, loss of consortium, and wrongful death.

   If the declarations page shows that “combined single limit” or “CSL” applies, the
   amount shown is the most we will pay for the total of all damages resulting from any
   one accident. However, without changing this total limit of liability, we will comply with
   any law that requires us to provide any separate limits.
                                               13
2:22-cv-00192-TOR         ECFIII No.
   The damages under this Part         1 reduced
                                 will be    filed by
                                                  08/25/22
                                                     all sums:             PageID.42 Page 42
   1.	available to an insured person under the limits of liability under all liability insur-
       ance or bonds applicable to the owner or operator of the underinsured motor
       vehicle. This includes all available limits of liability under Part I—Liability to Others
       and Part IV—Damage to A Vehicle; and
   2.	paid by or for any other liable persons or organizations due to bodily injury to the
       insured person.

   Our Limit of Liability under this Part III for property damage to a covered auto arising
   out of one accident is the lowest of:
   1.	the actual cash value of the covered auto at the time of the accident, reduced by
        the applicable deductible;
   2.	the amount necessary to replace the covered auto, reduced by the applicable
        deductible;
   3.	the amount necessary to repair the covered auto to its pre-loss condition, reduced
        by the applicable deductible; or
   4.	any Limit of Liability shown on the declarations page for “property damage” under
        this Part III.

   Payments for property damage under this Part III are subject to the following provi-
   sions:
   1. no more than one deductible will be applied to any one accident; and
   2.	the applicable deductible for property damage under this Part III for an accident
       with a hit-and-run vehicle or a phantom vehicle is $300. The applicable deductible
       for property damage under this Part III for all other accidents is $100.

   We will not pay under this Part III any expenses paid or payable under Part II—Personal
   Injury Protection Coverage.

   No one will be entitled to duplicate payments for the same elements of damages.

   If multiple auto policies issued by us are in effect for you, we will pay no more than the
   highest limit of liability for this coverage available under any one policy.


   OTHER INSURANCE

   If there is other applicable similar insurance, we will pay only our share of the loss. Our
   share is the proportion that our limit of liability bears to the total of all applicable limits. If
   this policy and any other policy providing similar insurance apply to the same accident,
   the maximum limit of liability under all the policies shall be the highest applicable limit
   of liability under any one policy. However, any insurance we provide with respect to a
   vehicle you do not own will be excess over any other collectible insurance.

   ARBITRATION

   If we and an insured person cannot agree on:
   1.	the legal liability of the operator or owner of an underinsured motor vehicle; or
                                                   14
2:22-cv-00192-TOR          ECF No.
   2.	the amount of the damages     1 filed
                                 sustained by the08/25/22     PageID.43 Page 43
                                                  insured person;
   this will be determined by arbitration if we and the insured person mutually agree to
   arbitration prior to the expiration of the bodily injury statute of limitations in the state in
   which the accident occurred. If we and the insured person do not agree to arbitration,
   then the legal liability of the operator or owner of the underinsured motor vehicle, and
   the amount of the damages sustained by the insured person, may be determined in a
   court of competent jurisdiction.

   If we and an insured person have agreed to arbitration, the decision will be made by
   an arbitrator agreed to by the parties. If the parties cannot agree on an arbitrator within
   30 days, then on joint application by the insured person and us, the third arbitrator will
   be appointed by a court having jurisdiction.

   We will pay the costs and fees of the arbitrator. Each party will pay their own costs and
   fees that they incur, including but not limited to attorney fees and fees paid to medical or
   other expert witnesses.

   Unless both parties agree otherwise, arbitration will take place in the county in which
   the insured person resides. Local rules of procedure and evidence will apply.

   A decision by the arbitrator will be binding with respect to a determination of:
   1.	the legal liability of the operator or owner of an underinsured motor vehicle; and
   2.	the amount of the damages sustained by the insured person.
   We cannot be bound by the arbitrator for any amount in excess of the limit of liability.

   We and an insured person may agree to an alternate form of arbitration.

                             PART IV—DAMAGE TO A VEHICLE

   INSURING AGREEMENT—COLLISION COVERAGE

   If you pay the premium for this coverage, we will pay for sudden, direct and accidental
   loss to a:
   1.	 covered auto, including an attached trailer; or
   2.	 non-owned auto;
   and its custom parts or equipment, resulting from collision.

   In addition, we will pay the reasonable cost to replace any child safety seat damaged in
   an accident to which this coverage applies.

   INSURING AGREEMENT—COMPREHENSIVE COVERAGE

   If you pay the premium for this coverage, we will pay for sudden, direct and accidental
   loss to a:
   1.	 covered auto, including an attached trailer; or
   2.	 non-owned auto;
   and its custom parts or equipment, that is not caused by collision.
                                                 15
2:22-cv-00192-TOR           ECF includes:
   A loss not caused by collision No. 1 filed 08/25/22              PageID.44 Page 44
   1.	contact with an animal (including a bird);
   2.	explosion or earthquake;
   3.	fire;
   4.	malicious mischief or vandalism;
   5.	missiles or falling objects;
   6.	riot or civil commotion;
   7.	theft or larceny;
   8.	windstorm, hail, water or flood; or
   9.	breakage of glass not caused by collision.

   In addition, we will pay for:
   1.	reasonable transportation expenses incurred by you if a covered auto is stolen; and
   2.	loss of use damages that you are legally liable to pay if a non-owned auto is stolen.
   A combined maximum of $900, not exceeding $30 per day, will apply to these addi-
   tional benefits. The additional benefit for transportation expenses will not apply if you
   purchased Rental Reimbursement Coverage for the stolen covered auto.

   Coverage for transportation expenses and loss of use damages begins 48 hours after
   you report the theft to us and ends the earliest of:
   1.	when the auto has been recovered and returned to you or its owner;
   2.	when the auto has been recovered and repaired;
   3.	when the auto has been replaced; or
   4.	72 hours after we make an offer to settle the loss if the auto is deemed by us to be
       a total loss.

   We must receive written proof of transportation expenses and loss of use damages.

   INSURING AGREEMENT—ADDITIONAL CUSTOM PARTS
   OR EQUIPMENT COVERAGE

   We will pay for sudden, direct and accidental loss to custom parts or equipment on a
   covered auto for which this coverage has been purchased. This coverage applies only
   if you have purchased both Comprehensive Coverage and Collision Coverage for that
   covered auto and the loss is covered under one of those coverages. This coverage
   applies in addition to any coverage automatically provided for custom parts or equip-
   ment under Comprehensive Coverage or Collision Coverage.

   INSURING AGREEMENT—RENTAL REIMBURSEMENT COVERAGE

   We will reimburse rental charges incurred when you rent an auto from a rental agency
   or auto repair shop due to a loss to a covered auto for which Rental Reimbursement
   Coverage has been purchased. This coverage applies only if you have purchased both
   Comprehensive Coverage and Collision Coverage for that covered auto and the loss
   is covered under one of those coverages.

   Additional fees or charges for insurance, damage waivers, optional equipment, fuel, or
   accessories are not covered.
                                              16
2:22-cv-00192-TOR            ECF
   This coverage is limited to     No. day
                               the each 1 limit
                                           filedshown
                                                  08/25/22     PageID.45
                                                      on the declarations pagePage
                                                                               for a 45
   maximum of 30 days.

   If Rental Reimbursement Coverage applies, no other coverage under this policy for
   rental expenses will apply.

   Rental charges will be reimbursed beginning:
   1.	when the covered auto cannot be driven due to a loss; or
   2.	if the covered auto can be driven, when you deliver the covered auto to an auto
       repair shop or one of our Service Centers for repairs due to the loss;
   and ending the earliest of:
   1.	when the covered auto has been returned to you;
   2.	when the covered auto has been repaired;
   3.	when the covered auto has been replaced;
   4.	72 hours after we make an offer to settle the loss if the covered auto is deemed by
       us to be a total loss; or
   5.	when you incur 30 days worth of rental charges.

   You must provide us written proof of your rental charges to be reimbursed.

   INSURING AGREEMENT—LOAN/LEASE PAYOFF COVERAGE

   If you pay the premium for this coverage, and the covered auto for which this cover-
   age was purchased is deemed by us to be a total loss, we will pay, in addition to any
   amounts otherwise payable under this Part IV, the difference between:
   1.	the actual cash value of the covered auto at the time of the total loss; and
   2.	any greater amount the owner of the covered auto is legally obligated to pay under
        a written loan or lease agreement to which the covered auto is subject at the time
        of the total loss, reduced by:
        a.	unpaid finance charges or refunds due to the owner for such charges;
        b.	excess mileage charges or charges for wear and tear;
        c.	charges for extended warranties or refunds due to the owner for extended war-
             ranties;
        d.	charges for credit insurance or refunds due to the owner for credit insurance;
        e.	past due payments and charges for past due payments; and
        f.	collection or repossession expenses.

   However, our payment under this coverage shall not exceed the limit of liability shown
   on the declarations page. The limit of liability is a percentage of the actual cash value
   of the covered auto at the time of the loss. This limitation does not apply to outstanding
   indebtedness secured by and incurred in conjunction with the purchase of a new cov-
   ered auto that is added to this policy within 30 days of your becoming the owner. For
   purposes of this coverage, “new” means an auto that was not previously titled.

   This coverage applies only if you have purchased both Comprehensive Coverage and
   Collision Coverage for that covered auto and the loss is covered under one of those
   coverages.
                                              17
2:22-cv-00192-TOR   ECF No.
   INSURING AGREEMENT—PET    1 filed
                          INJURY     08/25/22
                                 COVERAGE                              PageID.46 Page 46

  If you have purchased Collision coverage for at least one covered auto under your
  policy, and if your pet sustains injury or death while inside a covered auto or non-
  owned auto at the time of a loss covered under Collision or Comprehensive coverage,
  we will provide:
  1.	up to $1,000 for reasonable and customary veterinary fees incurred by you, a rela-
       tive, or a rated resident if your pet is injured in, or as a direct result of, the covered
       loss; or
  2.	a $1,000 death benefit if your pet dies in, or as a direct result of, the covered loss,
       less any payment we made toward veterinary expenses for your pet.
  In the event of a covered loss due to the theft of a covered auto or non-owned auto,
  we will provide the death benefit provided your pet is inside that auto at the time of the
  theft and your pet is not recovered.

  ADDITIONAL DEFINITIONS

  When used in this Part IV:
  1.	“Collision” means the upset of a vehicle or its impact with another vehicle or object.
  2.	“Custom parts or equipment” means equipment, devices, accessories, en-
      hancements and changes, other than those that are offered by the manufacturer
      specifically for that auto model, or that are installed by the auto dealership as part
      of the original sale of a new auto, that:
      a.	are permanently installed or attached; and
      b.	alter the appearance or performance of the auto.
  3.	“Mechanical parts” means operational parts on a vehicle that wear out over time
      or have a finite useful life or duration typically shorter than the life of the vehicle as
      a whole. Mechanical parts do not include external crash parts, wheels, paint, or
      windshields and other glass.
  4.	“Non-owned auto” means an auto that is not owned by or furnished or available
      for the regular use of you, a relative, or a rated resident while in the custody of or
      being operated by you, a relative, or a rated resident with the permission of the
      owner of the auto or the person in lawful possession of the auto.
  5.	“Your pet” means any dog or cat owned by you, a relative, or a rated resident.

  EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
  CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART IV.

  Coverage under this Part IV will not apply for loss:
  1.	to any vehicle while being used:
      a.	to carry persons or property for compensation or a fee;
      b.	for retail or wholesale delivery, including, but not limited to, the pickup, transport
           or delivery of magazines, newspapers, mail or food; or
      c. for ride-sharing activity.
      This exclusion does not apply to shared-expense car pools;
  2.	to a non-owned auto while being maintained or used by a person while employed
      or engaged in any auto business;
                                                18
2:22-cv-00192-TOR             ECF
   3.	to any vehicle resulting from,No.  1 filedduring
                                      or sustained 08/25/22
                                                        practice orPageID.47
                                                                    preparation for:Page 47
        a.	any pre-arranged or organized racing, stunting, speed or demolition contest or
             activity; or
        b.	any driving activity conducted on a permanent or temporary racetrack or race-
             course;
   4.	to any vehicle for which insurance:
        a.	is afforded under a nuclear energy liability insurance contract; or
        b.	would be afforded under a nuclear energy liability insurance contract but for its
             termination upon exhaustion of its limit of liability;
   5.	to any vehicle caused by an intentional act of a person entitled to payment under
        this Part IV, or caused by an intentional act at the direction of a person entitled to
        payment, to the extent of that person’s interest in that covered auto, even if the
        actual damage is different than that which was intended or expected;
   6.	to a covered auto while it is leased or rented to others or given in exchange for
        compensation, including while being used in connection with a personal vehicle
        sharing program. This exclusion does not apply to the operation of a covered
        auto by you, a relative, or a rated resident;
   7.	due to destruction or confiscation by governmental or civil authorities of any vehicle
        because you, any relative, or any rated resident engaged in illegal activities;
   8.	to any vehicle that is due and confined to:
        a.	wear and tear;
        b.	freezing;
        c.	mechanical, electrical or electronic breakdown or failure; or
        d.	road damage to tires.
        This exclusion does not apply if the damage results from the theft of a vehicle;
   9.	to portable equipment, devices, accessories, and any other personal effects that
        are not permanently installed. This includes, but is not limited to:
        a.	tapes, compact discs, cassettes, DVDs, and other recording or recorded media;
        b.	any case or other container designed for use in storing or carrying tapes, com-
             pact discs, cassettes, DVDs, or other recording or recorded media;
        c.	any device used for the detection or location of radar, laser, or other speed
             measuring equipment or its transmissions; and
        d.	CB radios, telephones, two-way mobile radios, DVD players, personal comput-
             ers, personal digital assistants, or televisions;
   10.	to any vehicle for diminution of value;
   11.	to any vehicle caused directly or indirectly by:
        a.	war (declared or undeclared) or civil war;
        b.	warlike action by any military force of any government, sovereign, or other
             authority using military personnel or agents. This includes any action taken to
             hinder or defend against an actual or expected attack; or
        c.	insurrection, rebellion, revolution, usurped power, or any action taken by a gov-
             ernmental authority to hinder or defend against any of these acts;
   12.	to any vehicle caused directly or indirectly by:
        a.	any accidental or intentional discharge, dispersal or release of radioactive,
             nuclear, pathogenic or poisonous biological material; or
        b.	any intentional discharge, dispersal or release of chemical or hazardous mate-
             rial for any purpose other than its safe and useful purpose; or
                                               19
2:22-cv-00192-TOR           ECF
   13.	to any vehicle caused by, orNo.  1 filed
                                     reasonably    08/25/22
                                                expected to resultPageID.48
                                                                  from, a criminalPage
                                                                                  act or 48
        omission of you, a relative, a rated resident, or the owner of a non-owned auto.
        This exclusion applies regardless of whether you, the relative, the rated resident,
        or the owner of the non-owned auto is actually charged with, or convicted of, a
        crime. For purposes of this exclusion, criminal acts or omissions do not include traf-
        fic violations; or
   14.	to a covered auto while used in connection with a personal vehicle sharing pro-
        gram or other similar program which engages in the business of facilitating the
        sharing of private passenger motor vehicles.

   LIMITS OF LIABILITY

   1.	The limit of liability for loss to a covered auto, non-owned auto, or custom parts
       or equipment is the lowest of:
       a.	the actual cash value of the stolen or damaged property at the time of the loss
           reduced by the applicable deductible;
       b.	the amount necessary to replace the stolen or damaged property reduced by
           the applicable deductible;
       c.	the amount necessary to repair the damaged property to its pre-loss condition
           reduced by the applicable deductible; or
       d.	the Stated Amount shown on the declarations page for that covered auto.
       However, the most we will pay for loss to:
       a.	custom parts or equipment is $1,000 unless you purchased Additional
           Custom Parts or Equipment Coverage (“ACPE”). If you purchased ACPE, the
           most we will pay is $1,000 plus the amount of ACPE you purchased.
       b.	a trailer is the limit of liability shown on the declarations page for that trailer.
           If the trailer is not shown on the declarations page, the limit of liability is
           $500.
   2.	Payments for loss to a covered auto, non-owned auto, or custom parts or
       equipment are subject to the following provisions:
       a.	If coverage applies to a non-owned auto, we will provide the broadest cover-
           age applicable to any covered auto shown on the declarations page.
       b.	If you have elected a Stated Amount for a covered auto, the Stated Amount
           is the most we will pay for all loss to that covered auto, including its custom
           parts or equipment.
       c.	Coverage for custom parts or equipment will not cause our limit of liability
           for loss to an auto under this Part IV to be increased to an amount in excess of
           the actual cash value of the auto, including its custom parts or equipment.
       d.	In determining the amount necessary to repair damaged property to its pre-
           loss condition, the amount to be paid by us:
   		 (i)	will not exceed the prevailing competitive labor rates charged in the area
                 where the property is to be repaired and the cost of repair or replacement
                 parts and equipment, as reasonably determined by us; and
   		 (ii)	will be based on the cost of repair or replacement parts and equipment
                 which may be new, reconditioned, remanufactured or used, including, but
                 not limited to:
   			           (a)	original manufacturer parts or equipment; and
                                               20
2:22-cv-00192-TOR
   			                  ECF
            (b)	nonoriginal  No. 1 filed
                             manufacturer parts08/25/22
                                               or equipment. PageID.49 Page 49
       e.	To determine the amount necessary to repair or replace the damaged prop-
           erty as referred to in subsection 1., the total cost of necessary repair or replace-
           ment may be reduced by unrepaired prior damage. Unrepaired prior damage
           includes broken, cracked or missing parts; rust; dents; scrapes; gouges; and
           peeling paint. The reduction for unrepaired prior damage is the cost of labor,
           parts and materials necessary to repair or replace damage, deterioration, de-
           fects, or wear and tear on exterior body parts, windshields and other glass,
           wheels, and paint, that existed prior to the accident and that is eliminated as a
           result of the repair or replacement of property damaged in the loss.
       f.	To determine the amount necessary to repair or replace the damaged prop-
           erty as referred to in subsection 1., an adjustment may be made for betterment
           or depreciation and physical condition on:
   		(i)	      batteries;
   		(ii)	     tires;
   		 (iii)	engines and transmissions, if the engine has greater than 80,000 miles;
                and
   		(iv)	     any other mechanical parts that are nonfunctioning or inoperative.
   		     We will not make an adjustment for the labor costs associated with the re-
           placement or repair of these parts.
       g.	The actual cash value is determined by the market value, age, and condition
           of the vehicle at the time the loss occurs.
       h.	any amount payable under this Part IV for loss to a covered auto will be
           reduced by any amount paid for the same elements of loss under Part III—
           Underinsured Motorist Coverage.
   3.	No deductible will apply to a loss to window glass when the glass is repaired in-
       stead of replaced.
   4.	Duplicate recovery for the same elements of damages is not permitted.
   5.	The following additional limits of liability apply to Pet Injury coverage:
       a.	The most we will pay for all damages in any one loss is a total of $1,000 re-
           gardless of the number of dogs or cats involved.
       b.	If your pet dies in, or as a direct result of, a covered loss, we will provide a
           death benefit of $1,000, less any payment we made toward veterinary ex-
           penses for your pet.
       c.	No deductible shall apply to this coverage.

   PAYMENT OF LOSS

   We may, at our option:
   1.	pay for the loss in money; or
   2.	repair or replace the damaged or stolen property.

   At our expense, we may return any recovered stolen property to you or to the address
   shown on the declarations page, with payment for any damage resulting from the theft.
   We may keep all or part of the property at the agreed or appraised value.

                                               21
2:22-cv-00192-TOR          ECF
   We may settle any loss with youNo.  1 owner
                                  or the   filed
                                               or 08/25/22        PageID.50
                                                  lienholder of the property. Page 50

   NO BENEFIT TO BAILEE

   Coverage under this Part IV will not directly or indirectly benefit any carrier or other
   bailee for hire.

   LOSS PAYABLE CLAUSE

   1.	Loss or damage, if any, under this policy shall be payable first to the loss payee or
       mortgagee (hereinafter called “secured party”), and, second, to you as the inter-
       ests of each may appear; Provided, That, upon demand for separate settlement by
       the secured party, the amount of said loss will be paid directly to the secured party
       to the extent of its interest.

   2.	This insurance as to the interest of the secured party shall not be invalidated by
       any act or neglect of you in said policy or your agents, employees or representa-
       tives, nor by any change in the title or ownership of your covered auto; Provided,
       however, That the conversion, embezzlement or secretion by you or your agents,
       employees or representatives is not covered under said policy unless specifically
       insured against and premiums paid therefor.

   3.	In applying the pro rata provisions of the policy, the amount payable to the secured
       party shall be reduced only to the extent of pro rata payments receivable by the
       secured party under other policies.

   4.    e reserve the right to cancel the policy at any time as provided by its terms, but in
        W
        such case we shall mail to the secured party a notice stating when such cancella-
        tion shall become effective as to the interest of said secured party. The amount and
        form of such notice shall not be less than that required to be given you, by law or
        by the policy provisions, whichever is more favorable to the secured party.

   5.	If you fail to render proof of loss within the time granted in the policy conditions,
       such secured party shall do so within sixty days after having knowledge of a loss,
       in form and manner as provided by the policy, and, further, shall be subject to the
       provisions of the policy relating to appraisal and the time of payment and bringing
       suit.

   6.	Whenever we shall pay the secured party any sum for loss or damage under policy
       and shall claim that, as to you, no liability exists, we shall, to the extent of such
       payment, be thereupon legally subrogated to all the rights of the party to whom
       such payment will be made, under all collateral held to secure the debt, or may, at
       our option, pay to the secured party the whole principal due or to grow due on the
       mortgage or other security agreement, with interest, and shall thereupon receive a
       full assignment and transfer of the mortgage or other security agreement and of all

                                               22
2:22-cv-00192-TOR           ECF
      collateral held to secure      No.
                                it; but no1subrogation
                                               filed 08/25/22        PageID.51
                                                       shall impair the               Page 51
                                                                        right of the secured
        party to recover the full amount due it.

   7.	All notices sent to the secured party shall be sent to its last reported address, which
       must be stated in the policy.

   The lienholder’s interest will not be protected where the loss is otherwise not covered
   under the terms of this policy.

   If this policy is cancelled, nonrenewed or voided, the interest of any lienholder under this
   agreement will also terminate.

   OTHER SOURCES OF RECOVERY

   If other sources of recovery also cover the loss, we will pay only our share of the loss.
   Our share is the proportion that our limit of liability bears to the total of all applicable
   limits. However, any insurance we provide for a non-owned auto, or trailer not shown
   on the declarations page, will be excess over any other collectible source of recovery
   including, but not limited to:
   1.	any coverage provided by the owner of the non-owned auto or trailer;
   2.	any other applicable physical damage insurance; and
   3.	any other source of recovery applicable to the loss.

   APPRAISAL

   If we cannot agree with you on the amount of a loss, then we or you may demand
   an appraisal of the loss. Within 30 days of any demand for an appraisal, each party
   shall appoint a competent appraiser and shall notify the other party of that appraiser’s
   identity. The appraisers will determine the amount of loss. If they fail to agree, the dis-
   agreement will be submitted to a qualified umpire chosen by the appraisers. If the two
   appraisers are unable to agree upon an umpire within 15 days, we or you may request
   that a judge of a court of record, in the county where you reside, select an umpire. The
   appraisers and umpire will determine the amount of loss. The amount of loss agreed
   to by both appraisers, or by one appraiser and the umpire, will be binding. You will pay
   your appraiser’s fees and expenses. We will pay our appraiser’s fees and expenses. All
   other expenses of the appraisal, including payment of the umpire if one is selected, will
   be shared equally between us and you. Neither we nor you waive any rights under this
   policy by agreeing to an appraisal.

                     PART V—ROADSIDE ASSISTANCE COVERAGE

   INSURING AGREEMENT

   If you pay the premium for this coverage, we will pay for our authorized service represen-
   tative to provide the following services when necessary due to a covered emergency:
   1.	towing of a covered disabled auto to the nearest qualified repair facility; and
                                               23
2:22-cv-00192-TOR          ECF No.
   2.	labor on a covered disabled    1 at the
                                   auto    filed  08/25/22
                                               place            PageID.52 Page 52
                                                     of disablement.

   If a covered disabled auto is towed to any place other than the nearest qualified repair
   facility, you will be responsible for any additional charges incurred.

   ADDITIONAL DEFINITIONS

   When used in this Part V:
   1.	“Covered disabled auto” means a covered auto for which this coverage has
       been purchased that sustains a covered emergency.
   2.	“Covered emergency” means a disablement that is a result of:
       a.	mechanical or electrical breakdown;
       b.	battery failure;
       c.	insufficient supply of fuel, oil, water, or other fluid;
       d.	flat tire;
       e.	lock-out; or
       f.	entrapment in snow, mud, water or sand within 100 feet of a road or highway.

   EXCLUSIONS—READ THE FOLLOWING EXCLUSIONS CAREFULLY. IF AN EX-
   CLUSION APPLIES, COVERAGE WILL NOT BE AFFORDED UNDER THIS PART V.

   Coverage under this Part V will not apply to:
   1.	more than three covered emergencies for any single covered auto in a six-month
        period;
   2.	the cost of purchasing parts, fluid, lubricants, fuel, or replacement keys, or the labor
        to make replacement keys;
   3.	installation of products or material not related to the disablement;
   4.	labor not related to the disablement;
   5.	labor on a covered disabled auto for any time period in excess of 60 minutes per
        disablement;
   6.	towing or storage related to impoundment, abandonment, illegal parking, or other
        violations of law;
   7.	assistance with jacks, levelers, airbags or awnings;
   8.	labor or repair work performed at a service station, garage, or repair shop;
   9.	auto storage charges;
   10.	disablement that occurs on roads not regularly maintained, sand beaches, open
        fields, or areas designated as not passable due to construction, weather, or earth
        movement;
   11.	mounting or removing of snow tires or chains;
   12.	tire repair;
   13.	disablement that results from an intentional or willful act or action by you, a rela-
        tive, or the operator of a covered disabled auto;
   14. any covered auto while being used in connection with ride-sharing activity;
   15.	any covered auto while being used in connection with a personal vehicle sharing
        program; or
   16.	a trailer.
                                               24
2:22-cv-00192-TOR   ECFPROVIDER
   UNAUTHORIZED SERVICE No. 1 filed 08/25/22                        PageID.53 Page 53

  When service is rendered by a provider in the business of providing roadside assistance
  and towing services, other than one of our authorized service representatives, we will
  pay only reasonable charges, as determined by us, for:
  1.	towing of a covered disabled auto to the nearest qualified repair facility; and
  2.	labor on a covered disabled auto at the place of disablement;
  which is necessary due to a covered emergency.

  OTHER INSURANCE

  Any coverage provided under this Part V for service rendered by an unauthorized ser-
  vice provider will be excess over any other collectible insurance or towing protection
  coverage.

               PART VI—DUTIES IN CASE OF AN ACCIDENT OR LOSS

  For coverage to apply under this policy, you or the person seeking coverage must
  promptly report each accident or loss even if you or the person seeking coverage is not
  at fault. You or the person seeking coverage must provide us with all accident or loss
  information, including time, place, and how the accident or loss happened. You or the
  person seeking coverage must also obtain and provide us the names and addresses of
  all persons involved in the accident or loss, the names and addresses of any witnesses,
  and the license plate numbers of the vehicles involved.

  If you or the person seeking coverage cannot identify the owner or operator of a vehicle
  involved in the accident, or if theft or vandalism has occurred, you or the person seeking
  coverage must notify the police within 24 hours or as soon as practicable. However, if
  the person is seeking coverage under Part III—Underinsured Motorist Coverage for an
  accident involving a “phantom vehicle” as defined in Part III, then notice must be given
  to the police or civil authority within 72 hours of the accident.

  A person seeking coverage must:
  1.	cooperate with us in any matter concerning a claim or lawsuit;
  2.	provide any written proof of loss we may reasonably require;
  3.	allow us to take signed and recorded statements, including sworn statements and
      examinations under oath, which we may conduct outside the presence of you or
      any other person seeking coverage, and answer all reasonable questions we may
      ask as often as we may reasonably require;
  4.	promptly call to notify us about any claim or lawsuit and send us any and all legal
      papers relating to the claim or suit;
  5.	attend hearings and trials as we require;
  6.	take reasonable steps after a loss to protect the covered auto, or any other vehicle
      for which coverage is sought, from further loss. We will pay reasonable expenses
      incurred in providing that protection. If failure to provide such protection results in
      further loss, any additional damages will not be covered under this policy;
                                              25
2:22-cv-00192-TOR
   7.	allow us to have theECF No.covered
                           damaged 1 filed  08/25/22
                                          auto,            PageID.54
                                                or any other            Page
                                                             damaged vehicle for 54
       which coverage is sought, inspected and appraised before its repair or disposal;
   8.	submit to medical examinations at our expense by doctors we select as often as
       we may reasonably require; and
   9.	authorize us to obtain medical and other records.

                            PART VII—GENERAL PROVISIONS

   POLICY PERIOD AND TERRITORY

   This policy applies only to accidents and losses occurring during the policy period
   shown on the declarations page and that occur within a state, territory or possession
   of the United States of America, or a province or territory of Canada, or while a covered
   auto is being transported between their ports.

   CHANGES

   This policy contract, your insurance application (which is made a part of this policy as
   if attached hereto), the declarations page (which is made a part of this policy as if at-
   tached hereto), and all endorsements to this policy issued by us, contain all the agree-
   ments between you and us. Subject to the following, the terms of this policy may not be
   changed or waived except by an endorsement issued by us.

   The premium for this policy is based on information we received from you and other
   sources. You agree to cooperate with us in determining if this information is correct and
   complete, and to promptly notify us if it changes during the policy period. If this informa-
   tion is determined by us to be incorrect, incomplete, or if it changes during the policy
   period, you agree that we may adjust your policy information and premium accordingly.
   Changes that may result in a premium adjustment are contained in our rates and rules.
   These include, but are not limited to, you, a relative, or a rated resident obtaining a
   driver’s license or operator’s permit, or changes in:
   1.	the number, type or use classification of covered autos;
   2.	the persons who regularly operate a covered auto;
   3.	the persons of legal driving age residing in your household;
   4.	the residents in your household;
   5.	an operator’s marital or domestic partnership status;
   6.	 your mailing address and your residence address;
   7.	the principal garaging address of any covered auto;
   8.	coverage, deductibles, or limits of liability; or
   9.	rating territory or discount eligibility.

   The coverage provided in your policy may be changed only by the issuance of a new
   policy or an endorsement by us. However, if during the policy period we broaden any
   coverage afforded under the current edition of your policy without additional premium
   charge, that change will automatically apply to your policy as of the date the coverage
   change is implemented in your state.
                                               26
2:22-cv-00192-TOR
   If you ask us to delete a ECF
                             vehicleNo.
                                     from1this filed
                                               policy,08/25/22    PageID.55
                                                      no coverage will               Page 55
                                                                       apply to that vehicle
   as of the date and time you ask us to delete it.

   DUTY TO REPORT CHANGES

   You must promptly report to us all changes, including additions and deletions, in policy
   information. This includes, but is not limited to, changes in:
   1.	 your mailing address or your residence address;
   2.	the principal garaging address of any covered auto;
   3.	the residents in your household;
   4.	the persons of legal driving age residing in your household;
   5.	the persons who regularly operate a covered auto;
   6.	an operator’s marital or domestic partnership status; or
   7.	the driver’s license or operator’s permit status of you, a relative, or a rated resident.

   SETTLEMENT OF CLAIMS

   We may use estimating, appraisal, or injury evaluation systems to assist us in adjust-
   ing claims under this policy and to assist us in determining the amount of damages,
   expenses, or loss payable under this policy. Such systems may be developed by us or a
   third party and may include computer software, databases, and specialized technology.

   TERMS OF POLICY CONFORMED TO STATUTES

   If any provision of this policy fails to conform to the statutes of the state listed on your
   application as your residence, the provision shall be deemed amended to conform to
   such statutes. All other provisions shall be given full force and effect. Any disputes as to
   the coverages provided or the provisions of this policy shall be governed by the law of
   the state listed on your application as your residence.

   TRANSFER OF INTEREST

   The rights and duties under this policy may not be transferred to another person without
   our written consent. However, if a named insured shown on the declarations page
   dies, this policy will provide coverage until the end of the policy period for the legal rep-
   resentative of the named insured, while acting as such, and for persons covered under
   this policy on the date of the named insured’s death.

   FRAUD OR MISREPRESENTATION

   This policy was issued in reliance upon the information provided on your insurance
   application. Notwithstanding anything to the contrary in this policy or on your declara-
   tions page, we may void this policy at any time, including after the occurrence of an
   accident or loss, if you:
   1.	made incorrect statements or representations to us with regard to any material fact
       or circumstance;
   2.	concealed or misrepresented any material fact or circumstance; or
                                                27
2:22-cv-00192-TOR
   3.	engaged in fraudulentECF  No. 1
                             conduct;           filed 08/25/22        PageID.56 Page 56
   with the intent to deceive at the time of application. This means that we will not be liable
   for any claims or damages that would otherwise be covered.

   Any changes we make at your request to this policy after inception will be made in
   reliance upon information you provide. Notwithstanding anything to the contrary in the
   policy or on your declarations page, if you:
   1.	make incorrect statements or representations to us with regard to any material fact
        or circumstance;
   2.	conceal or misrepresent any material fact or circumstance; or
   3.	engage in fraudulent conduct;
   with the intent to deceive in connection with a requested change we may void the policy
   or reform it as it existed immediately prior to the requested change. We may do this at
   any time, including after the occurrence of an accident or loss.

   When we have not voided or reformed the policy, we may still deny coverage for an
   accident or loss if you, in connection with the policy application, in connection with any
   requested change, or at any time during the policy period, have concealed or misrepre-
   sented any material fact or circumstance or engaged in fraudulent conduct with the intent
   to deceive and that concealment, misrepresentation, or fraudulent conduct was material
   to a risk we assumed.

   We may deny coverage for an accident or loss if you or a person seeking coverage has
   concealed or misrepresented any material fact or circumstance, or engaged in fraudu-
   lent conduct, with the intent to deceive in connection with the presentation or settlement
   of a claim.

   PAYMENT OF PREMIUM AND FEES

   If your initial premium payment is by check, draft, electronic funds transfer, or similar
   form of remittance, coverage under this policy is conditioned on payment to us by the
   financial institution. Notwithstanding anything to the contrary in this policy or on your
   declarations page, if the financial institution upon presentment does not honor the
   check, draft, electronic funds transfer, or similar form of remittance, this policy may, at
   our option, be deemed void from its inception. This means we will not be liable under
   this policy for any claims or damages that would otherwise be covered if the check,
   draft, electronic funds transfer, or similar form of remittance had been honored by the
   financial institution. Any action by us to present the remittance for payment more than
   once shall not affect our right to void this policy.

   In addition to premium, fees may be charged on your policy. We may charge fees for
   installment payments, late payments, and other transactions. Payments made on your
   policy will be applied first to fees, then to premium due.

   CANCELLATION

   You may cancel this policy during the policy period by calling or writing us and stating
   the future date you wish the cancellation to be effective.
                                               28
2:22-cv-00192-TOR          ECF
   We may cancel this policy      No.
                             during the1policy
                                             filed  08/25/22
                                                period by mailing aPageID.57      Page 57
                                                                    notice of cancellation
   that includes the reason for the cancellation to the named insured shown on the decla-
   rations page at the last known address appearing in our records.

   We will give at least 10 days notice of cancellation if:
   1.	we cancel during the first 30 days of the initial policy period; or
   2.	the policy is cancelled for nonpayment of premium.

   We will give at least 20 days notice of cancellation in all other cases.

   We may cancel this policy for any reason if the notice is mailed within the first 60 days
   of the initial policy period.

   After this policy is in effect for more than 60 days, or if this is a renewal or continuation
   policy, we may cancel only for one or more of the following reasons:
   1.	nonpayment of premium;
   2.	loss of driving privileges during the policy period, or, if this is a renewal policy, dur-
        ing the policy period or the 180 days immediately preceding the effective date of
        renewal, through suspension or revocation of your operator’s license or the opera-
        tor’s license of any other operator who customarily operates a covered auto; or
   3.	any other reason permitted by law.

   Proof of mailing will be sufficient proof of notice. If this policy is cancelled, coverage will
   not be provided as of the effective date and time shown in the notice of cancellation. For
   purposes of cancellation, this policy is neither severable nor divisible. Any cancellation
   will be effective for all coverages for all persons and all vehicles.

   CANCELLATION REFUND

   Upon cancellation, you may be entitled to a premium refund. However, our making or
   offering of a refund is not a condition of cancellation. We charge a policy fee for each
   policy term.

   If this policy is cancelled, any refund due will be computed on a daily pro rata basis.
   However, we will retain a full policy fee if this policy is cancelled at your request. If
   cancellation is for nonpayment of premium, any refund will be computed on a daily pro
   rata basis.

   NONRENEWAL

   If neither we nor one of our affiliates offers to renew or continue this policy, we will mail
   notice of nonrenewal to the named insured shown on the declarations page at the
   last known address appearing in our records. Proof of mailing will be sufficient proof of
   notice. Notice will be mailed at least 20 days before the end of the policy period.


                                                 29
2:22-cv-00192-TOR    ECF No. 1
   AUTOMATIC TERMINATION                       filed 08/25/22        PageID.58 Page 58

  If we or an affiliate offers to renew or continue this policy and you or your representative
  does not accept, this policy will automatically terminate at the end of the current policy
  period. Failure to pay the required renewal or continuation premium when due will mean
  that you have not accepted our offer.

  If you obtain other insurance on a covered auto, any similar insurance provided by this
  policy will terminate as to that covered auto on the effective date of the other insurance.

  If a covered auto is sold or transferred to someone other than you or a relative, any
  insurance provided by this policy will terminate as to that covered auto on the effective
  date of the sale or transfer.

  LEGAL ACTION AGAINST US

  We may not be sued unless there is full compliance with all the terms of this policy.

  We may not be sued for payment under Part I—Liability To Others until the obligation of
  an insured person under Part I to pay is finally determined either by judgment after trial
  against that person or by written agreement of the insured person, the claimant, and us.
  No one will have any right to make us a party to a lawsuit to determine the liability of an
  insured person.

  If we retain salvage, we have no duty to preserve or otherwise retain the salvage for any
  purpose, including evidence for any civil or criminal proceeding.

  OUR RIGHTS TO RECOVER PAYMENT

  We are entitled to the rights of recovery that the insured person to whom payment was
  made has against another, to the extent of our payment. This right of recovery exists
  regardless of whether the insured person has been fully compensated for all damages,
  whether the insured person has a deductible under our policy, or whether others have
  paid for only a part of the insured person’s loss. That insured person may be required to
  sign documents related to the recovery and must do whatever else we require to help
  us exercise those recovery rights, and do nothing after an accident or loss to prejudice
  those rights.

  When an insured person has been paid by us and also recovers from another, the
  amount recovered will be held by the insured person in trust for us and reimbursed to us
  to the extent of our payment. We will be entitled to recovery only after the insured per-
  son has been fully compensated for damages arising out of the accident. If an insured
  person incurs attorney fees in connection with a lawsuit or arbitration to enforce benefits
  under Part III—Underinsured Motorist Coverage or under Part I—Liability to Others,
  any offset against benefits paid under Part II—Personal Injury Protection Coverage will
  be subject to a pro rata reduction for such attorney fees. If we are not reimbursed, we
  may pursue recovery of that amount directly against that insured person.
                                              30
2:22-cv-00192-TOR          ECFfrom
   If an insured person recovers No.another
                                     1 filed   08/25/22
                                            without our writtenPageID.59      Page 59
                                                                consent, the insured
   person’s right to payment under Part II—Personal Injury Protection Coverage and Part
   IV—Damage To A Vehicle will no longer exist to the extent that our right of recovery
   against the responsible party has been adversely affected.

   If we elect to exercise our rights of recovery against another, we will include the in-
   sured’s deductible in our recovery efforts unless specifically instructed by that person
   not to pursue the deductible. We have no obligation to pursue recovery against another
   for any loss not covered by this policy.

   We reserve the right to compromise or settle the deductible and property damage
   claims against the responsible parties for less than the full amount. We also reserve the
   right to incur reasonable expenses and attorney fees in pursuit of the recovery.

   Any recoveries received will be allocated first to the insured person for any deductible
   incurred in the loss. However, we will reduce reimbursement of the deductible based
   on the insured person’s proportion of fault for the loss. If we hire an outside attorney to
   collect such recovery, we will also reduce reimbursement of the deductible based on
   a pro rata share of collection expenses and attorney fees incurred in connection with
   these recovery efforts.

   These provisions will be applied in accordance with state law.

   JOINT AND INDIVIDUAL INTERESTS

   If there is more than one named insured on this policy, any named insured may cancel
   or change this policy. The action of one named insured will be binding on all persons
   provided coverage under this policy.

   BANKRUPTCY

   The bankruptcy or insolvency of an insured person will not relieve us of any obligations
   under this policy.




                                               31
2:22-cv-00192-TOR   ECF No. 1       filed 08/25/22   PageID.60 Page 60




                    9611A WA 0716
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.61 Page 61 of 69




                EXHIBIT B
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.62 Page 62 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.63 Page 63 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.64 Page 64 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.65 Page 65 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.66 Page 66 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.67 Page 67 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.68 Page 68 of 69
Case 2:22-cv-00192-TOR   ECF No. 1   filed 08/25/22   PageID.69 Page 69 of 69
